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                               EXHIBIT Q


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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                                                ARTICLE

                 The Downstream Consequences of
                  Misdemeanor Pretrial Detention
                      Paul Heaton, Sandra Mayson & Megan Stevenson*

        Abstract. In misdemeanor cases, pretrial detention poses a particular problem because it
        may induce innocent defendants to plead guilty in order to exit jail, potentially creating
        widespread error in case adjudication. While practitioners have long recognized this
        possibility, empirical evidence on the downstream impacts of pretrial detention on
        misdemeanor defendants and their cases remains limited. This Article uses detailed data on
        hundreds of thousands of misdemeanor cases resolved in Harris County, Texas—the third-
        largest county in the United States—to measure the effects of pretrial detention on case
        outcomes and future crime. We find that detained defendants are 25% more likely than
        similarly situated releasees to plead guilty, are 43% more likely to be sentenced to jail, and
        receive jail sentences that are more than twice as long on average. Furthermore, those
        detained pretrial are more likely to commit future crimes, which suggests that detention
        may have a criminogenic effect. These differences persist even after fully controlling for
        the initial bail amount, offense, demographic information, and criminal history
        characteristics. Use of more limited sets of controls, as in prior research, overstates the
        adverse impacts of detention. A quasi-experimental analysis based on case timing confirms
        that these differences likely reflect the causal effect of detention. These results raise
        important constitutional questions and suggest that Harris County could save millions of
        dollars per year, increase public safety, and reduce wrongful convictions with better
        pretrial release policy.




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                                               Introduction
            The United States likely detains millions of people each year for inability
        to post modest bail. There are approximately eleven million annual admissions
        into local jails.1 Many of those admitted remain jailed pending trial. At midyear
        2014, there were an estimated 467,500 people awaiting trial in local jails, up
        from 349,800 at the same point in 2000 and 298,100 in 1996. 2 Available evidence
        suggests that the large majority of pretrial detainees are detained because they
        cannot afford their bail, which is often a few thousand dollars or less. 3
            This expansive system of pretrial detention has profound consequences
        both within and beyond the criminal justice system. A person detained for
        even a few days may lose her job, housing, or custody of her children.4 There is

         1. See Todd D. Minton & Zhen Zeng, Bureau of Justice Statistics, U.S. Dep’t of Justice, Jail
           Inmates at Midyear 2014, at 1 (2015), https://www.bjs.gov/content/pub/pdf/jim14.pdf.
         2. Darrell K. Gilliard & Allen J. Beck, Bureau of Justice Statistics, U.S. Dep’t of Justice,
            Prison and Jail Inmates at Midyear 1996, at 7 (1997), https://www.bjs.gov/content/
            pub/pdf/pjim97.pdf; Minton & Zeng, supra note 1, at 3 tbl.2. Jail incarceration rates
            rose steadily between 1983 and 2007. See Ram Subramanian et al., Vera Inst. of Justice,
            Incarceration’s Front Door: The Misuse of Jails in America 7-10 (2015),
            https://www.vera.org/publications/incarcerations-front-door-the-misuse-of-jails-in
            -america (to locate, select the “Full Report” hyperlink). This trend accompanied a shift
            away from release on recognizance and toward reliance on cash bail. Whereas between
            the years 1990 and 1994, 41% of pretrial releases were on recognizance and 24% were by
            cash bail, between 2002 and 2004 the relation was reversed: 23% of releases were on
            recognizance, and 42% were by cash bail. Thomas H. Cohen & Brian A. Reaves, Bureau
            of Justice Statistics, U.S. Dep’t of Justice, State Court Processing Statistics, 1990-2004:
            Pretrial Release of Felony Defendants in State Courts 2 (2007), https://www.bjs.gov/
            content/pub/pdf/prfdsc.pdf. In 2009, 61% of releases in felony cases in the seventy-five
            largest urban jurisdictions included financial conditions of release. Brian A. Reaves,
            Bureau of Justice Statistics, U.S. Dep’t of Justice, Felony Defendants in Large Urban
            Counties, 2009—Statistical Tables 1, 15 (2013).
         3. See N.Y.C. CRIMINAL JUSTICE AGENCY, ANNUAL REPORT 2013, at 22, 30 & exh. 18 (2014),
            http://www.nycja.org/lwdcms/doc-view.php?module=reports&module_id=1410&
            doc_name=doc (documenting bail of $500 or less in 33% of nonfelony cases and 3% of
            felony cases in New York City and reporting that 30% of felony defendants and 46% of
            nonfelony defendants whose bail was $500 or less were detained until the disposition of
            their case); Cohen & Reaves, supra note 2, at 1 (reporting that five in six felony
            defendants detained until disposition had bail set and that approximately 30% of felony
            defendants with bail set at $5000 or less were detained); Reaves, supra note 2, at 15
            (reporting that nine in ten felony defendants detained until disposition had bail set).
            What is unclear is how many of the defendants detained despite bail are there for
            inability to pay and how many elect not to post bail for reasons other than financial
            inability (for instance, because they have a probation detainer or plan to plead guilty
            and expect a custodial sentence). See infra Table 1 and accompanying text (discussing
            rates of misdemeanor pretrial detention in Harris County).
         4. See, e.g., Curry v. Yachera, No. 15-1692, 2016 WL 4547188, at *3 (3d Cir. Sept. 1, 2016)
            (“While imprisoned [pretrial on a bail he could not afford], [Curry] missed the birth of
            his only child, lost his job, and feared losing his home and vehicle.”); OPEN SOC’Y JUSTICE
                                                                          footnote continued on next page
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        also substantial reason to believe that detention affects case outcomes. A
        detained defendant “is hindered in his ability to gather evidence, contact
        witnesses, or otherwise prepare his defense.”5 This is thought to increase the
        likelihood of conviction, either by trial or by plea, and may also increase the
        severity of any sanctions imposed.6 More directly, a detained person may plead
        guilty—even if innocent—simply to get out of jail.7 Not least importantly, a
        money bail system that selectively detains the poor threatens the constitutional
        principles of due process and equal protection.8
             To date, however, empirical evidence of the downstream effects of pretrial
        detention has been limited. There is ample documentation that those detained
        pretrial are convicted more frequently, receive longer sentences, and commit
        more future crimes than those who are not (on average). 9 But this is precisely
        what one would expect if the system detained those who pose the greatest
        flight or public safety risk. One key question for pretrial law and policy is
        whether detention actually causes the adverse outcomes with which it is linked,
        independently of other factors. On this question, past empirical work is
        inconclusive.10
             This Article presents original evidence that pretrial detention causally
        affects case outcomes and the commission of future crimes. Using detailed data
        on hundreds of thousands of misdemeanor cases resolved in Harris County,
        Texas (the third-largest county in the United States 11), this Article deploys two
             INITIATIVE, THE SOCIOECONOMIC IMPACT OF PRETRIAL DETENTION: A GLOBAL CAMPAIGN
             FOR PRETRIAL JUSTICE             REPORT 13 (2011), http://www.unicef.org/ceecis/
             Socioeconomic_impact_pretrial_detention.pdf (attempting to “catalogue the
             socioeconomic impact of excessive pretrial detention around the world”); Nick Pinto,
             The Bail Trap, N.Y. TIMES MAG. (Aug. 13, 2015), http://nyti.ms/1INtghe (chronicling the
             story of a woman who, “five months after her arrest, . . . was still fighting in family
             court to regain custody of her daughter”).
          5. Barker v. Wingo, 407 U.S. 514, 533 (1972).
          6. See infra Part I.C (describing prior research finding evidence of these effects).
          7. See infra note 16 and accompanying text.
          8. See infra Part IV.B.
          9. See infra Part I.C.
         10. The literature has produced suggestive evidence of the causal effects of detention, but
             prior studies were limited by the data available and the number of variables for which
             they were able to control. See infra Part I.C. Only one study, a report published by the
             New York City Criminal Justice Agency, has focused on misdemeanor cases specifical-
             ly. MARY T. PHILLIPS, N.Y.C. CRIMINAL JUSTICE AGENCY, PRETRIAL DETENTION AND CASE
             OUTCOMES, PART 1: NONFELONY CASES (2007) [hereinafter PHILLIPS, NONFELONY CASES],
             http://www.nycja.org/lwdcms/doc-view.php?module=reports&module_id=669&doc_
             name=doc. That study found that misdemeanor pretrial detention is correlated with
             unfavorable case outcomes. Id. at 25-43, 55-56. Because of the limited set of controls,
             however, it is unclear whether the relationship is causal.
         11. Largest Counties in the U.S. 2015, STATISTA, https://www.statista.com/statistics/241702/
             largest-counties-in-the-us (last visited Mar. 3, 2017).


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        quantitative methods to estimate the causal effect of detention: (1) a regression
        analysis that controls for a significantly wider range of confounding variables
        than past studies, and (2) a quasi-experimental analysis related to case timing.
        The results provide compelling evidence that pretrial detention causally
        increases the likelihood of conviction, the likelihood of receiving a carceral
        sentence, the length of a carceral sentence, and the likelihood of future arrest
        for new crimes.
             This Article intentionally focuses on misdemeanor cases. “Misdemeanor”
        may sound synonymous with “trivial,” but that connotation is misleading.
        Misdemeanors matter. Misdemeanor convictions can result in jail time, heavy
        fines, invasive probation requirements, and collateral consequences that
        include deportation, loss of child custody, ineligibility for public services, and
        barriers to finding employment and housing.12 Beyond the consequences of
        misdemeanor convictions for individuals, the misdemeanor system has a
        profound impact because it is enormous: while national data on misdemeanors
        are lacking, a 2010 analysis found that misdemeanors represented more than
        three-quarters of the criminal caseload in state courts where data were
        available.13
             For misdemeanor defendants who are detained pretrial, the worst punish-
        ment may come before conviction.14 Conviction generally means getting out
        of jail; people detained on misdemeanor charges are routinely offered sentences
        for “time served” or probation in exchange for tendering a guilty plea.15 And

         12. Alexandra Natapoff, Misdemeanors, 85 S. CAL. L. REV. 1313, 1316-17 (2012) (reporting
             that a misdemeanor conviction can limit a person’s access to “employment, as well as
             educational and social opportunities”; can limit eligibility for “professional licenses,
             child custody, food stamps, student loans, health care,” or public housing; can “lead to
             deportation”; and “heightens the chances of subsequent arrest, and can ensure a longer
             felony sentence later on”); Jenny Roberts, Crashing the Misdemeanor System, 70 WASH. &
             LEE L. REV. 1089, 1090 (2013) (noting that misdemeanor convictions “can affect future
             employment, housing, and many other basic facets of daily life”).
         13. ROBERT C. LAFOUNTAIN ET AL., NAT’L CTR. FOR STATE COURTS, EXAMINING THE WORK
             OF STATE COURTS: AN ANALYSIS OF 2008 STATE COURT CASELOADS 47 (2010),
             http://www.courtstatistics.org/~/media/Microsites/Files/CSP/EWSC-2008-Online
             .ashx; see also Natapoff, supra note 12, at 1315 (“Most U.S. convictions are misdemean-
             ors, and they are generated in ways that baldly contradict the standard due process
             model of criminal adjudication.”).
         14. See MALCOLM M. FEELEY, THE PROCESS IS THE PUNISHMENT: HANDLING CASES IN A
             LOWER CRIMINAL COURT 9-10 (1979) (reporting that in a sample of more than 1600
             cases, “twice as many people were sent to jail prior to trial than after trial”). This
             practice stands in sharp contrast to the traditional right to pretrial release on bail for
             noncapital defendants. Cf. Stack v. Boyle, 342 U.S. 1, 4 (1951) (“[The] traditional right to
             freedom before conviction . . . serves to prevent the infliction of punishment prior to
             conviction.”).
         15. Jenny Roberts, Why Misdemeanors Matter: Defining Effective Advocacy in the Lower
             Criminal Courts, 45 U.C. DAVIS L. REV. 277, 308 (2011) (“In such cases, defendants must
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        their incentives to take the deal are overwhelming. For defendants with a job
        or apartment on the line, the chance to get out of jail may be impossible to pass
        up. Misdemeanor pretrial detention therefore seems especially likely to induce
        guilty pleas, including wrongful ones.16 This is also, perversely, the realm
        where the utility of cash bail or pretrial detention is most attenuated. These
        defendants’ incentives to abscond should be relatively weak, and the public
        safety benefit of detention is dubious.17
             Despite these structural problems, money bail practices that result in
        systemic misdemeanor pretrial detention have persisted nationwide. In Harris
        County, Texas—the site of this study—more than half of all misdemeanor
        defendants are detained.18 Other jurisdictions also detain people accused of
        misdemeanors at surprising rates.19 There are several possible reasons for this.
        A money bail system may be easier to operate than a system of broad release
        with effective pretrial services. The bail bondsman lobby is a potent political
        force.20 The individual judges or magistrates who make pretrial custody

             generally choose between remaining in jail to fight the case or taking an early plea
             with a sentence of time served or probation.”).
         16. See, e.g., Samuel R. Gross & Barbara O’Brien, Frequency and Predictors of False Conviction:
             Why We Know So Little, and New Data on Capital Cases, 5 J. EMPIRICAL LEGAL STUD. 927,
             930-31 (2008) (noting that “it is entirely possible that most wrongful convictions . . . are
             based on negotiated guilty pleas to comparatively light charges” to avoid “prolonged
             pretrial detention”); Natapoff, supra note 12, at 1316 (“[E]very year the criminal system
             punishes thousands of petty offenders who are not guilty.”); id. at 1343-47 (cataloging
             the pressures that lead innocent misdemeanor defendants to plead guilty); Alexandra
             Natapoff, Negotiating Accuracy: DNA in the Age of Plea Bargaining, in WRONGFUL
             CONVICTIONS AND THE DNA REVOLUTION: TWENTY-FIVE YEARS OF FREEING THE
             INNOCENT (Daniel Medwed ed., forthcoming 2017), http://papers.ssrn.com/sol3/
             papers.cfm? abstract_id=2693218 (“Because most of those arrested [for public-order
             offenses pursuant to aggressive broken windows policing in New York City] pled out
             to avoid pre-trial detention, that police policy resulted in numerous wrongful
             convictions.”).
         17. That is both because people accused of misdemeanors are likely to pose much less of a
             threat than people charged with more serious offenses and because detention for the
             life of a misdemeanor case constitutes only very short-term incapacitation—which
             may be outweighed by criminogenic effects. See infra Part III.C.
         18. Infra Table 1.
         19. See, e.g., Charlie Gerstein, Note, Plea Bargaining and the Right to Counsel at Bail Hearings,
             111 MICH. L. REV. 1513, 1525 n.81 (2013) (“In New York . . . 25 percent of nonfelony
             defendants are held on bail. In Baltimore, that number is closer to 50 percent.”). In
             Philadelphia and New York City, around 25% of misdemeanor defendants are detained
             pretrial. Statistics for Philadelphia are based on the Authors’ calculations using
             Philadelphia court records; for statistics for New York City, see P HILLIPS, NONFELONY
             CASES, supra note 10, at 13.
         20. See Press Release, Am. Bail Coal., Former U.S. Solicitor General Paul D. Clement Files
             Amicus Brief in Defense of the Eighth Amendment Constitutional Right to Bail on
             Behalf of the American Bail Coalition, the Georgia Association of Professional
             Bondsmen, and the Georgia Sheriffs’ Association (June 21, 2016),
                                                                           footnote continued on next page
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        decisions suffer political blowback if they release people (either directly or via
        affordable bail) who subsequently commit violent crimes, but they suffer few
        consequences, if any, for setting unaffordable bail that keeps misdemeanor
        defendants detained. In short, institutional actors in the misdemeanor system
        have strong incentives to rely on money bail practices that result in systemic
        pretrial detention.21
             Given the inertia, misdemeanor bail policy is unlikely to shift in the
        absence of compelling empirical evidence that the status quo does more harm
        than good. This Article provides such evidence through the use of two types of
        quantitative analysis. The first is a regression analysis that controls for a wide
        range of confounding factors: defendant demographics, extensive criminal
        history variables, wealth measures (zip code and claims of indigence), judge
        effects, and 121 different categories of charged offense. Importantly, the
        analysis also controls for the precise amount of bail set at the initial hearing,
        meaning that the effects of bail are assessed by comparing defendants
        presumably viewed by the court as representing equal risk but who
        nonetheless differ in whether they are ultimately detained. In addition, this
        Article undertakes a quasi-experimental analysis that, akin to a randomized
        controlled trial that would be used to determine the effect of a treatment in an
        experimental setting, measures the effects of detention by leveraging random
        variation in the access defendants have to bail money based on the timing of
        arrest. These quasi-experimental results are very similar to those produced
        through regression analysis with detailed controls.
             This Article finds that defendants who are detained on a misdemeanor
        charge are much more likely than similarly situated releasees to plead guilty
        and serve jail time. Compared to similarly situated releasees, detained
        defendants are 25% more likely to be convicted and 43% more likely to be
        sentenced to jail. On average, their incarceration sentences are nine days
        longer, more than double that of similar releasees. Furthermore, we find that

             http://www.americanbailcoalition.org/in-the-news/former-u-s-solicitor-general-paul
             -d-clement-files-amicus-brief-defense-constitutional-right-bail (showing that the bail
             bond industry is represented in federal court by a prominent Supreme Court advocate
             and former Solicitor General); Nat’l Ass’n of Pretrial Serv. Agencies, The Truth About
             Commercial Bail Bonding in America 4-5 (2009), https://www.pretrial.org/download/
             pji-reports/Facts%20and%20Positions%201.pdf (describing legislative efforts by the
             American Legislative Exchange Council on behalf of the bail bond industry); About the
             American Bail Coalition, AM. BAIL COALITION, http://www.americanbailcoalition.org/
             about-us (last visited Mar. 3, 2017) (“The American Bail Coalition is a trade association
             made up of national bail insurance companies . . . .”).
         21. However, that may be changing in some places thanks to recent reform efforts. See, e.g.,
             Ending the American Money Bail System, EQUAL JUST. UNDER L.,
             http://equaljusticeunderlaw.org/wp/current-cases/ending-the-american-money-bail
             -system (last visited Mar. 3, 2017) (describing the organization’s litigation campaign
             against money bail systems).


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        pretrial detainees are more likely than similarly situated releasees to commit
        future crimes. Although detention reduces defendants’ criminal activity in the
        short term through incapacitation, by eighteen months post-hearing, detention
        is associated with a 30% increase in new felony charges and a 20% increase in
        new misdemeanor charges, a finding consistent with other research suggesting
        that even short-term detention has criminogenic effects. These results raise
        important constitutional questions and suggest that with modest changes to
        misdemeanor pretrial policy, Harris County could save millions of dollars per
        year, increase public safety, and reduce wrongful convictions.
             Interest in pretrial policy is now surging. In the months prior to publica-
        tion of this Article, several other studies have been released that also use both a
        natural experiment and complex multivariate regression to estimate the effects
        of pretrial detention.22 Those studies are set in Philadelphia, New York City,
        Pittsburgh, and Miami, and they too find that pretrial detention has a causal
        adverse effect on case outcomes. 23 As a whole, this body of research presents
        compelling evidence that detention effects exist across case types and
        jurisdictions. This Article offers a unique contribution by focusing on
        misdemeanor cases, setting its analysis in Harris County, and putting its
        empirical findings in constitutional context.
             This Article proceeds in four parts. Part I provides background on pretrial
        detention and surveys the existing empirical literature assessing its effects.
        Part II outlines the pretrial process in Harris County, which has much in
        common with the process in other large jurisdictions, and describes the dataset.
        Part II also reports the results of an empirical analysis on the relationship
        between wealth and detention rates. Part III presents the results from a series of
        empirical analyses designed to measure the effect of pretrial detention on case
        and crime outcomes. Part IV, finally, explores the implications of the results
        for ongoing constitutional and policy debates.

        I.   The Pretrial Process and Prior Empirical Literature

             A. On Bail and Pretrial Detention
            The pretrial process begins with arrest and ends with the disposition of the
        criminal case. Since the Founding, the United States has relied heavily on a
        money bail system adapted from the English model to ensure the appearance of
        the accused at trial.24 Bail is deposited with the court and serves as security. If
         22. See infra notes 63-73 and accompanying text.
         23. See infra notes 63-73 and accompanying text.
         24. See Hermine Herta Meyer, Constitutionality of Pretrial Detention, 60 GEO. L.J. 1139, 1146
             (1972) (chronicling the history of the bail system in Anglo-Saxon law); Timothy R.
             Schnacke, Nat’l Inst. of Corr., U.S. Dep’t of Justice, Fundamentals of Bail: A Resource
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        the accused appears in court when ordered to do so, his bail is returned at the
        conclusion of the case; if not, it is forfeited.25 But whereas in eighteenth-
        century England many offenses were “unbailable,” the American colonies
        guaranteed a broad right to bail with a narrow exception for capital cases. 26 In
        1951, the Supreme Court held that the Excessive Bail Clause prohibits bail “set
        at a figure higher than an amount reasonably calculated” to ensure the
        appearance of the accused.27 The Court ruminated that “[u]nless this right to
        bail before trial is preserved, the presumption of innocence, secured only after
        centuries of struggle, would lose its meaning.”28
             The second half of the twentieth century brought major changes to
        America’s pretrial system. In the 1960s, the realization that many people were
        detained pretrial for their inability to post bail led to a national reform
        movement.29 Reform efforts sought to limit the use of money bail in favor of
        simple release on recognizance (ROR), where the defendant is released solely
        on his promise to return to court.30 In the 1970s and 1980s, concerns about

             Guide for Pretrial Practitioners and a Framework for American Pretrial Reform 21-44
             (2014),               http://www.clebp.org/images/2014-11-05_final_bail_fundamentals_
             september_8,_2014.pdf.
         25. See, e.g., ARIZ. R. CRIM. P. 7.6(c)(2) (“If at the [bail forfeiture] hearing, the [bail] violation is
             not explained or excused, the court may enter an appropriate order of judgment
             forfeiting all or part of the amount of the bond, which shall be enforceable by the state
             as any civil judgment.”); PA. R. CRIM. P. 535(D) (“[W]ithin 20 days of the full and final
             disposition of the case, the [bail] deposit shall be returned to the depositor . . . .”); id.
             536(A)(2)(a) (“When . . . the defendant has violated a condition of the bail bond, the bail
             authority may order the cash or other security forfeited and shall state in writing or on
             the record the reasons for so doing.”); TEX. CODE CRIM. PROC. ANN. art. 17.02 (West
             2015) (“Any cash funds deposited under this article shall . . . , on order of the court, be
             refunded . . . after the defendant complies with the conditions of the defendant’s
             bond . . . .”); id. art. 22.01 (“When a defendant . . . fails to appear in any court in which
             such case may be pending and at any time when his personal appearance is required
             under this Code, . . . a forfeiture of his bail and a judicial declaration of such forfeiture
             shall be taken . . . .”).
         26. See Judiciary Act of 1789, ch. 20, § 33, 1 Stat. 73, 91-92 (guaranteeing a right to bail in
             noncapital cases); JOHN S. GOLDKAMP, TWO CLASSES OF ACCUSED: A STUDY OF BAIL AND
             DETENTION IN AMERICAN JUSTICE 55-60 (1979) (explaining the “classic” state constitu-
             tional bail clause and statutory definition of the right to bail); Schnacke, supra note 24,
             at 29-33 (describing the “bail/no bail” dichotomy in early America).
         27. Stack v. Boyle, 342 U.S. 1, 5 (1951).
         28. Id. at 4.
         29. See GOLDKAMP, supra note 26, at 23-25, 84.
         30. See, e.g., Bail Reform Act of 1966, Pub. L. No. 89-465, § 2, 80 Stat. 214, 214 (“The purpose
             of this Act is to revise the practices relating to bail to assure that all persons, regardless
             of their financial status, shall not needlessly be detained pending their appearance . . . .”);
             NAT’L CONFERENCE ON BAIL & CRIMINAL JUSTICE, PROCEEDINGS AND INTERIM REPORT OF
             THE NATIONAL CONFERENCE ON BAIL AND CRIMINAL JUSTICE, at xiii-xxxii (1965)
             (describing the proceedings of a high-level policy committee convened to address
             inequalities in the bail system and shift toward release on recognizance); Robert F.
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        rising rates of pretrial crime led to a second wave of reform, this time directed
        at identifying and managing defendants who posed a threat to public safety.31
        The federal government and many states enacted pretrial preventive detention
        statutes, and almost every jurisdiction in the country amended its pretrial laws
        to direct courts to consider “public safety” when setting bail or conditions of
        release.32
             As of this writing, most U.S. jurisdictions rely heavily on money bail as the
        central mechanism of the pretrial system.33 The Supreme Court has held that
        “the fixing of bail for any individual defendant must be based upon standards
        relevant to the purpose of assuring the presence of that defendant,” including
        “the nature and circumstances of the offense charged, the weight of the
        evidence against him, the financial ability of the defendant to give bail and the
        character of the defendant.”34 Many jurisdictions, however, do not adhere to
        this mandate. Bail hearings are typically just a few minutes long, often
        conducted over videoconference and without defense representation. 35 Some
        jurisdictions employ bail “schedules” with predetermined bail amounts for each
        offense, which do not consider individual circumstances relevant to flight risk



             Kennedy, U.S. Att’y Gen., Address to the Criminal Law Section of the American Bar
             Association 4 (Aug. 10, 1964), https://www.justice.gov/sites/default/files/ag/legacy/
             2011/01/20/08-10-1964.pdf (“We have been deeply concerned anout [sic] the effect of
             bail on the poor man. The Allen Committee . . . recommended that release on recogni-
             zance be increased wherever possible at the Federal level and we have followed that
             recommendation.”).
         31. See John S. Goldkamp, Danger and Detention: A Second Generation of Bail Reform, 76 J.
             CRIM. L. & CRIMINOLOGY 1, 5-6, 15 (1985).
         32. See id. at 15.
         33. See supra note 2 and accompanying text.
         34. Stack v. Boyle, 342 U.S. 1, 5 & n.3 (1951) (emphasis added) (quoting FED. R. CRIM. P. 46(c)
             (amended 1966)).
         35. See Pretrial Justice Inst., 2009 Survey of Pretrial Services Programs 44-45 (2009),
             http://www.pretrial.org/download/pji-reports/new-PJI%202009%20Survey%20of%20
             Pretrial%20Services%20Programs.pdf. While there is no systematic survey of bail
             hearing lengths, many jurisdictions report bail hearings of just a few minutes. For
             example, bail hearings are three minutes long on average in North Dakota, Length of a
             Bail Hearing in North Dakota: 3 Minutes, NAT’L CTR. FOR ACCESS TO JUST. (Jan. 25, 2013),
             http://ncforaj.org/2013/01/25/length-of-a-bail-hearing-in-north-dakota-3-minutes,
             and they are often less than two minutes long in Illinois’s Cook County, Injustice
             Watch Staff, Change Difficult as Bail System’s Powerful Hold Continues Punishing the Poor,
             INJUSTICE WATCH (Oct. 14, 2016), http://injusticewatch.org/interactives/bent-on-bail.
             Harris County bail hearings, the length of which is evidenced by the time stamp on the
             court records, are usually only a couple of minutes long, as is true in Philadelphia. See
             Megan Stevenson, Distortion of Justice: How the Inability to Pay Bail Affects Case
             Outcomes 6 (Jan. 12, 2017) (unpublished manuscript), https://papers.ssrn.com/abstract
             =2777615.


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        or ability to pay.36 In many jurisdictions, judges set higher bail for defendants
        they perceive as dangerous, either as directed by statute or on their own
        initiative, despite the fact that money bail is a dubious mechanism for
        managing future crime risk.37
             Once bail is set, detention status depends on a defendant’s ability and
        willingness to pay bail. Those who post bail are released. Often a bail bondsman
        serves as a middleman, posting the refundable bail deposit in exchange for a
        nonrefundable fee (usually about 10% of the total). 38 Those who do not post bail
        are detained pending trial. The length of pretrial detention varies tremendous-
        ly by jurisdiction and the particulars of a given case. In most places, the state
        must institute formal charges and arraign the defendant within a few days of
        arrest, and misdemeanor cases may be resolved within a few weeks. 39 In other
        places the timeline is longer, and a misdemeanor defendant may be detained for
        weeks or months before she is even arraigned.40
             It has long been conventional wisdom that pretrial detention has an
        adverse effect on case outcomes (from the perspective of the accused). 41 If this is

         36. See Pretrial Justice Inst., Pretrial Justice in America: A Survey of County Pretrial
             Release Policies, Practices and Outcomes 2, 7 (2010), https://www.pretrial.org/
             download/research/PJI%20Pretrial%20Justice%20in%20America%20-%20Scan%20of
             %20Practices%202009.pdf (indicating that 64% of the U.S. counties surveyed reported
             using a bail schedule). But cf. ABA STANDARDS FOR CRIMINAL JUSTICE: PRETRIAL RELEASE
             § 10-5.3(e) (3d ed. 2007) [hereinafter ABA STANDARDS: PRETRIAL RELEASE] (“Financial
             conditions . . . should never be set by reference to a predetermined schedule of amounts
             fixed according to the nature of the charge.”).
         37. Cf. ABA STANDARDS: PRETRIAL RELEASE, supra note 36, § 10-5.3(b) (“Financial conditions
             of release should not be set to prevent future criminal conduct during the pretrial
             period or to protect the safety of the community or any person.”).
         38. See Justice Policy Inst., For Better or for Profit: How the Bail Bonding Industry Stands
             in the Way of Fair and Effective Pretrial Justice 6 (2012), http://www.justicepolicy.org/
             uploads/justicepolicy/documents/_for_better_or_for_profit_.pdf.
         39. In the Harris County data, the median time to disposition for detained misdemeanor
             defendants is three days, and 80% of detained defendants had their cases resolved within
             eighteen days.
         40. In Louisiana, people may be detained on misdemeanor arrest charges for up to seventy-
             five days without being arraigned. See LA. CODE CRIM. PROC. ANN. art. 701(B)(1)(a) (2016)
             (requiring that formal charges be instituted within forty-five days of arrest if the
             misdemeanor defendant is detained); id. art. 701(C) (requiring arraignment within
             thirty days of the filing of formal charges).
         41. See Esmond Harmsworth, Bail and Detention: An Assessment and Critique of the Federal
             and Massachusetts Systems, 22 NEW ENG. J. CRIM. & CIV. CONFINEMENT 213, 217 (1996)
             (“The idea that detention correlates with, and causes, increased conviction rates goes
             back to Wayne Morse and R. Beattie’s study of Multnomah County, Oregon in the
             1920s and Caleb Foote’s Philadelphia studies in the 1950s.” (footnote omitted)); Patricia
             Wald, Pretrial Detention and Ultimate Freedom: A Statistical Study, 39 N.Y.U. L. REV. 631,
             632 (1964) (“[W]e can no longer disregard the impact of prior detention . . . on the
             sentencing process.”); see also infra Part I.C.


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        true, there are at least six possible mechanisms. Detained defendants might
        experience worse outcomes because they (1) have increased incentives to plead
        guilty, including potentially overwhelming incentives; (2) cannot effectively
        prepare a defense; (3) have reduced financial resources for their defense;
        (4) cannot demonstrate positive behavior; (5) cannot obstruct the prosecution;
        and (6) lack the advantage of long delay.
             Most obviously, detention alters the incentives for fighting a charge. A
        detained defendant generally has less to lose by pleading guilty; detention may
        have already caused major disruption to her life. And whereas for a released
        defendant the prospect of a criminal sentence—custodial or otherwise—
        represents a serious loss of liberty, for a detainee it is, at worst, an extension of
        the status quo. A second possible mechanism is that detention may limit the
        ability of the accused to develop a defense by working with his attorney or
        collecting relevant evidence. Relatedly, detention might limit the financial
        resources a person has to dedicate to her defense (if, for instance, detention
        results in loss of wages). Fourth, detention prevents an accused person from
        engaging in commendable behavior that might mitigate her sentence or
        increase the likelihood of acquittal, dismissal, or diversion. Such foreclosed
        conduct includes paying restitution, seeking drug or mental health treatment,
        and demonstrating commitment to educational or professional advancement. 42
        Fifth, detention might prevent the accused from engaging in reprehensible
        behaviors that have similar effects on the case outcome, like intimidating
        witnesses, destroying evidence, or engaging in bad-faith delay tactics. Finally,
        even if released defendants do not actively seek to delay adjudication, it may be
        the case that they have better outcomes simply because their cases move more
        slowly,43 which entails some inevitable degradation of evidence.

         42. See, e.g., IND. CODE § 35-38-1-7.1(b) (2016) (listing mitigating factors for sentencing,
             including a showing that the defendant “is likely to respond affirmatively to proba-
             tion” or “has made or will make restitution”); N.C. GEN. STAT. § 15A-1340.16(e) (2016)
             (listing mitigating factors, including a showing of “substantial or full restitution to the
             victim”; “good character or . . . a good reputation in the community”; that the defendant
             “is currently involved in or has successfully completed a drug treatment program or an
             alcohol treatment program subsequent to arrest and prior to trial”; and that the
             defendant “supports the defendant’s family,” “has a support system in the community,”
             “is gainfully employed,” or “has a good treatment prognosis, and a workable treatment
             plan is available”).
         43. See, e.g., Cohen & Reaves, supra note 2, at 7 (“Released [felony] defendants waited a
             median of 127 days from time of arrest until adjudication, nearly 3 times as long as
             those who were detained (45 days).”). Many states have contracted speedy trial limits
             for those detained pretrial. See, e.g., LA. CODE CRIM. PROC. ANN. art. 701(D)(1)(b) (“The
             trial of a defendant charged with a misdemeanor shall commence within thirty days if
             he is continued in custody and within sixty days if he is not continued in custody.”);
             infra note 136 (noting that in the Harris County dataset, the median time to judgment
             is 3 days for detained defendants and 125 days for released defendants and that there are
             large disparities in case resolution time between detained and released defendants even
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            B. Challenges for Empirical Study
             As a practical matter, testing whether detention has a causal impact on case
        outcomes is complicated by the fact that those detained are systematically
        different from those released. Because those who are detained pretrial are likely
        to have committed more serious crimes, have a longer criminal history, or
        have less wealth, one might expect to observe differences in case outcomes
        between detainees and releasees even absent any causal effect of pretrial
        custody status. To take a simple example, if crime is correlated over time such
        that more frequent offenders in one period are more likely to offend in future
        periods and a bail process detains defendants with more past convictions, then
        one would expect the future recidivism of those detained (who are already
        high-frequency offenders) to be greater than that of those who are released
        even when pretrial release does not affect behavior at all. Thus, estimates of the
        causal effect of bail must properly account for any sorting effect of bail that
        occurs in the real world.
             This sorting effect is further complicated by the fact that defendants
        themselves usually know whether they are guilty or innocent, but, in general,
        courts or researchers do not. A defendant who is factually guilty and plans to
        plead guilty may wish to forgo bail simply to get the punishment over with,
        anticipating that she will receive credit for time served. On the other hand, a
        defendant who believes she has a strong case for innocence may have greater
        incentive to post bail to avoid being detained when innocent.
             A final difficulty for measuring the effect of pretrial detention is that data
        on those factors known to be relevant for determining outcomes tend to be
        limited. While court records usually contain basic demographic information,
        current charges, and criminal history, they generally do not contain
        information on strength of evidence, wealth, or lawyer quality. Because case-
        level factors such as the quality of evidence cannot generally be observed,
        empirical studies on the impacts of pretrial detention are subject to the
        potential for bias in measuring causal effects. The degree of bias depends not
        only on how significantly the unobserved factors affect the outcome of interest
        but also on how closely correlated they are with pretrial detention.




            after controlling for the charged offense). And simply as a matter of policy, criminal
            justice system actors tend to prioritize detained defendants’ cases in order to minimize
            the length of pretrial detention. Cf. ABA STANDARDS FOR CRIMINAL JUSTICE: SPEEDY
            TRIAL AND TIMELY RESOLUTION OF CRIMINAL CASES § 12-1.3(b) (3d ed. 2006) (“The time
            limits concerning speedy trial for detained defendants should ordinarily be shorter
            than the limits applicable to defendants on pretrial release.”).


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             C. Prior Empirical Literature
             Notwithstanding these challenges, there is a body of prior empirical work
        dedicated to assessing the effects of pretrial detention on criminal justice
        outcomes. To varying degrees, prior studies have attempted to control for
        underlying differences between detainees and releasees in order to estimate the
        true causal effect of detention. Earlier studies, which preceded the advent of
        computers and digitized data systems, could only control for a few variables at
        a time. More recent studies have been able to control for a wider variety of
        variables, moving closer to an accurate causal estimate.
             The first major empirical study addressing the causal effect of detention
        was an innovative study known as the Manhattan Bail Project conducted by
        the Vera Foundation starting in 1961.44 The researchers conducted pretrial
        interviews and verifications designed to assess flight risk on the basis of
        community ties.45 They then recommended ROR to the judge in a randomly
        selected subset of cases that met certain criteria for low flight-risk status.46 For
        the rest of the cases that met the same criteria, they offered no recommenda-
        tion to the judge.47 To a modern researcher, this experimental approach is an
        ideal way of determining the causal impact of pretrial detention: those for
        whom the ROR recommendation was communicated should be statistically
        identical to those for whom it was not, with the only difference being a higher
        pretrial release rate among the former. If the two groups also had differing case
        outcomes, one could infer that the difference was due to pretrial detention.
             Disappointingly, the researchers did not report overall outcomes for these
        two groups. They only compared case outcomes among those in the reporting
        group who were released versus those in the nonreporting group who were
        detained.48 They found that those detained were dramatically more likely to be
        found guilty and sentenced to prison than those who were not. 49
             The Manhattan Bail Project made a profound contribution but was limited
        by its design. Because the two groups actually compared were subject to the
        additional filter of a release decision, they cannot be considered statistically
        identical. Comparing their outcomes might therefore provide a biased view of
        the causal impact of pretrial detention.50

         44. Charles E. Ares et al., The Manhattan Bail Project: An Interim Report on the Use of Pre-Trial
             Parole, 38 N.Y.U. L. REV. 67, 71 (1963).
         45. Id. at 72-73.
         46. Id. at 74.
         47. Id.
         48. Id. at 87 & tbl.12.
         49. Id.
         50. A follow-up study using data on seven hundred of the Manhattan Bail Project cases
             used some basic cross-tabulations to find that the correlation between detention and
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             Another important early study came to different conclusions. John
        Goldkamp in 1980 examined whether pretrial detention affected case outcomes
        at three separate stages in a criminal proceeding: dismissal at the outset, entry
        into a diversion program, and verdict.51 Focusing on roughly eight thousand
        Philadelphia criminal cases, Goldkamp found that after controlling for six
        variables—charge seriousness, existence of detainers/warrants, number of
        prior arrests, being under supervision, existence of open cases, and number of
        charges—pretrial detention had no discernible impact on any of these phases. 52
        The only outcome for which Goldkamp found some support for a causal
        channel of influence was on the likelihood of being sentenced to incarcera-
        tion.53 His method, however, divided the impact pretrial detention has on case
        outcomes into three steps: the impact on dismissal, diversion, and adjudication.
        The impact on any of these steps would necessarily be less than the overall
        impact on case outcomes.
             Empirical scholarship evaluating pretrial detention waned in the 1980s
        and 1990s, but the new millennium brought new research. Since 2000, a
        number of correlational studies have been published that have provided
        evidence on this subject, although not always as a primary focus of the paper. 54
        Although most of these studies have evaluated relatively small samples, they
        have taken advantage of improvements in data to control for a wider variety of
        underlying differences in defendant characteristics. Most of these studies have
        found that pretrial detention is correlated with unfavorable case outcomes for
        defendants.55

             unfavorable case outcomes is not explained away by prior record, bail amount, type of
             counsel, family integration, or employment stability. Anne Rankin, The Effect of
             Pretrial Detention, 39 N.Y.U. L. REV. 641, 655 (1964).
         51. John S. Goldkamp, The Effects of Detention on Judicial Decisions: A Closer Look, 5 JUST. SYS.
             J. 234, 237 (1980).
         52. Id. at 240-44.
         53. Id. at 249.
         54. See sources cited infra note 55.
         55. E.g., Gail Kellough & Scot Wortley, Remand for Plea: Bail Decisions and Plea Bargaining
             as Commensurate Decisions, 42 BRIT. J. CRIMINOLOGY 186, 187 (2002) (finding that a
             negative personality assessment by police increases the likelihood of detention in
             Canada and that those detained are more likely to plead guilty); Michael J. Leiber &
             Kristan C. Fox, Race and the Impact of Detention on Juvenile Justice Decision Making, 51
             CRIME & DELINQ. 470, 471 (2005) (assessing how the interaction between race and
             detention status affects juvenile delinquency case outcomes); J.C. Oleson et al., The Effect
             of Pretrial Detention on Sentencing in Two Federal Districts, 33 JUST. Q. 1103, 1117-19 (2014)
             (showing that pretrial detention is associated with an increased prison sentence in
             federal courts); Christine Tartaro & Christopher M. Sedelmaier, A Tale of Two Counties:
             The Impact of Pretrial Release, Race, and Ethnicity upon Sentencing Decisions, 22 CRIM. JUST.
             STUD. 203, 203-04, 208, 218 (2009) (examining heterogeneity in the effects of pretrial
             detention on sentences of incarceration for minority defendants in different Florida
             counties); Marian R. Williams, The Effect of Pretrial Detention on Imprisonment Decisions,
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             The new millennium also brought the publication of several important
        research studies funded by nonprofit organizations. Although not published in
        peer-reviewed or academic journals, these papers represented an advance
        because of their large sample sizes. In 2007 and 2008, the New York Criminal
        Justice Agency (CJA) published two reports that assessed the impact of pretrial
        detention on case outcomes for nonfelony and felony cases, respectively. 56
        Several years later, the Laura and John Arnold Foundation funded a pair of
        studies that assessed the impact of pretrial detention on case outcomes and on
        future crime.57
             With sample sizes in the tens to hundreds of thousands, the CJA and
        Arnold Foundation studies controlled for offense type (within eight to ten
        main classifications) along with gender, ethnicity, age, and criminal history. 58
        They still found substantial correlations between pretrial detention and
        conviction rates, sentences of incarceration, and postdisposition crime.59 The
        Arnold Foundation study in particular found large effects: low risk defendants
        detained throughout the pretrial period were 5.41 times more likely to be
        sentenced to jail and 3.76 times more likely to be sentenced to prison than
        similarly situated defendants who were released at some point before trial.60
             These large effects, however, are unlikely to represent the true causal
        effect of pretrial detention. The researchers in these studies did not control for
        the particular offense charged, using only broad offense categories such as
        “violent” offenses.61 Without controlling for the exact offense, the researchers
        are unlikely to be comparing apples to apples. There is substantial variation
        within each broad offense class. Those released on a violent offense are more

             28 CRIM. JUST. REV. 299, 306, 313 (2003) (showing that pretrial detention is correlated
             with increased incarceration sentences using a small sample of Florida felony cases).
         56. PHILLIPS, NONFELONY CASES, supra note 10; MARY T. PHILLIPS, N.Y.C. CRIMINAL JUSTICE
             AGENCY, PRETRIAL DETENTION AND CASE OUTCOMES, PART 2: FELONY CASES (2008)
             [hereinafter PHILLIPS, FELONY CASES].
         57. Christopher T. Lowenkamp et al., The Hidden Costs of Pretrial Detention (2013)
             [hereinafter Lowenkamp et al., Hidden Costs], http://www.arnoldfoundation.org/wp
             -content/uploads/2014/02/LJAF_Report_hidden-costs_FNL.pdf; Christopher T.
             Lowenkamp et al., Investigating the Impact of Pretrial Detention on Sentencing
             Outcomes (2013) [hereinafter Lowenkamp et al., Investigating the Impact],
             http://www.arnoldfoundation.org/wp-content/uploads/2014/02/LJAF_Report_state
             -sentencing_FNL.pdf.
         58. PHILLIPS, NONFELONY CASES, supra note 10, at 11, 23 tbl.7; Lowenkamp et al.,
             Investigating the Impact, supra note 57, at 12 & tbl.2.
         59. PHILLIPS, NONFELONY CASES, supra note 10, at 55-56; PHILLIPS, FELONY CASES, supra note
             56, at 57-59; Lowenkamp et al., Hidden Costs, supra note 57, at 4; Lowenkamp et al.,
             Investigating the Impact, supra note 57, at 4.
         60. Lowenkamp et al., Investigating the Impact, supra note 57, at 11.
         61. PHILLIPS, NONFELONY CASES, supra note 10, at 76 tbl.B; Lowenkamp et al., Investigating
             the Impact, supra note 57, at 12 tbl.2.


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        likely to be facing minor charges like simple assault, and those detained on a
        violent offense are more likely to be facing serious charges like murder or rape.
        Given that likely variation, the study does not necessarily compare outcomes
        across similarly situated individuals, and differences in outcomes would be
        expected even in the absence of a causal effect.
             In general, then, despite major improvements in data and analysis, prior
        research on the downstream effects of pretrial detention has controlled for
        only a limited set of confounding variables, making it difficult to distinguish
        the effect of detention from the effects of underlying differences between
        detainees and releasees. Previous studies have typically controlled only for
        limited measures of prior criminal involvement and grouped cases into a
        limited number of offense categories. They have also tended to lack controls
        for defendants’ wealth, which clearly affects pretrial release in cash bail
        systems and is also likely to affect defendants’ access to high-quality defense
        counsel and services—such as counseling or drug treatment—that might
        encourage courts to impose more lenient sentences. It is difficult, in other
        words, to exclude the possibility of “omitted variable bias” from the outcomes
        this past research has yielded.62
             The newest empirical work on pretrial detention effects seeks to avoid the
        problem of omitted variable bias by deploying quasi-experimental design. A
        working paper by Megan Stevenson, one of this Article’s Authors, uses a
        natural experiment in Philadelphia to estimate the causal effect of pretrial
        detention on case outcomes.63 Stevenson exploits the fact that defendants have
        their bail set by different bail magistrates with broad discretion. Some
        magistrates tend to set bail at unaffordable rates, while others set bail more
        leniently.64 The group of defendants randomly assigned to a high-bail
        magistrate are detained pretrial at higher rates than the group assigned to the
        more lenient magistrate.65 In all other respects, however, the two groups
        should be similar.66




         62. See generally CAROL S. ANESHENSEL, THEORY-BASED DATA ANALYSIS FOR THE SOCIAL
             SCIENCES 90 (2d ed. 2013) (defining “omitted variable bias” as “the result of leaving out of
             the model a variable” that both “is a cause of the dependent variable” and “is associated
             with one or more of the independent variables in the model” and noting that this
             results in the model “incorporating the effect of the omitted variable in the error
             term”).
         63. Stevenson, supra note 35.
         64. See id. at 41 fig.2 (showing average detention rates per magistrate for defendants facing
             different types of charges).
         65. See id. at 17.
         66. Id. at 14-15.


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             Stevenson ultimately finds that defendants who receive the strict magis-
        trate are more likely to plead guilty and receive harsher sentences. 67 Since this
        quasi-experimental method eliminates the bias that results from comparing
        individuals with different underlying characteristics, it produces a causal
        estimate of the effect of pretrial detention. Stevenson also performs a standard
        regression analysis (controlling for a detailed set of variables) that yields
        similar results, suggesting that with enough controls, researchers can produce
        reasonable estimates of the causal effects of pretrial detention even in the
        absence of a natural experiment.68
             Several other very recent working papers developed in 2016 have used a
        research design similar to Stevenson’s to assess the impact of pretrial detention
        in New York, Miami, Philadelphia, and Pittsburgh. Gupta, Hansman, and
        Frenchman find that money bail in Philadelphia leads to a 12% increase in the
        likelihood of conviction, and money bail in Philadelphia and Pittsburgh leads
        to a 6-9% increase in the yearly probability of receiving a new charge.69 Dobbie,
        Goldin, and Yang find that pretrial detention leads to a 27.3% increase in the
        likelihood of conviction but prevents a 37.6% increase in the likelihood of
        rearrest pretrial.70 They find no discernible postdisposition crime effects of
        pretrial detention, but they do find suggestive evidence that pretrial detention
        decreases ties to the formal employment sector. 71 Their research is set in both
        Philadelphia and Miami.72 Leslie and Pope look at the impacts of pretrial
        detention in New York City and estimate that detention leads to a 13
        percentage point increase in the likelihood of conviction among felony
        defendants and a 7.4 percentage point increase in the likelihood of conviction
        among misdemeanor defendants.73
             This Article offers several contributions to the empirical literature on
        pretrial detention. First, like the other 2016 studies, this Article offers both a
        quasi-experimental analysis and a regression analysis with a large set of highly
        detailed controls. Second, it focuses on misdemeanor defendants and assesses
        the effect of pretrial detention on both case outcomes and future crime. Third,

         67. Id. at 17-18.
         68. Id. at 18.
         69. Arpit Gupta et al., The Heavy Costs of High Bail: Evidence from Judge Randomization, 45 J.
             LEGAL STUD. 471, 472-73 (2016).
         70. Will Dobbie et al., The Effects of Pre-Trial Detention on Conviction, Future Crime, and
             Employment: Evidence from Randomly Assigned Judges 3 (Nat’l Bureau of Econ. Research,
             Working Paper No. 22511, 2016), http://www.nber.org/papers/w22511.pdf.
         71. See id. at 3-4.
         72. Id. at 1.
         73. Emily Leslie & Nolan G. Pope, The Unintended Impact of Pretrial Detention on Case
             Outcomes: Evidence from NYC Arraignments 15-16 (Nov. 9, 2016) (unpublished
             manuscript), http://home.uchicago.edu/~npope/pretrial_paper.pdf.


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        it offers the first large-scale empirical study of misdemeanor pretrial detention
        in Harris County—which, because its pretrial process is representative of many
        jurisdictions74 and because of the sheer number of people it affects, presents a
        particularly illuminating location of study.

        II. Misdemeanor Pretrial Detention in Harris County

            A. The Misdemeanor Pretrial Process
             The present analysis focuses on Harris County, Texas, the third-largest
        county in the United States. Countywide, around 70,000 misdemeanors are
        processed each year, and these cases are adjudicated by the Harris County
        Criminal Courts at Law.75 Indigent defense in the county was historically
        provided though an appointed private counsel system, but a public defender
        office was established in 2010 and has gradually expanded.76 Still today, though,
        the public defender office handles only a small subset of misdemeanor cases,
        with the remainder of cases assigned to appointed private counsel.77
             After arrest and booking, alleged misdemeanants are held at the county jail
        in downtown Houston until a bail hearing occurs.78 Bail hearings are held
        continuously every day during the year and nearly always occur within
        twenty-four hours of the initial booking.79 To manage the large volume of new
        defendants who arrive each day, the county has developed a videoconferencing

         74. See infra Part II.B.
         75. We report this total misdemeanor count on the basis of data on file with the Authors.
         76. Tony Fabelo et al., Council of State Gov’ts Justice Ctr., Improving Indigent Defense:
             Evaluation of the Harris County Public Defender 12, 14 & fig.3 (2013),
             http://harriscountypublicdefender.org/wp-content/uploads/2013/10/JCHCPDFinal
             Report.pdf.
         77. The Harris County Public Defender office represents only those misdemeanor
             defendants who are severely mentally ill, as identified by a computer algorithm on the
             basis of three criteria: (1) they have taken prescribed psychoactive drugs in the last
             ninety days; (2) they have a diagnosis of schizophrenia, bipolar disorder, or major
             depression; or (3) they are assigned to the jail’s specialty mental health housing. This
             totals approximately 2500 persons annually. E-mail from Alex Bunin, Harris Cty. Pub.
             Def., to Paul Heaton, Senior Fellow, Univ. of Pa. Law Sch., (June 16, 2016, 11:41 AM) (on
             file with authors).
         78. For details on some of the processes described here, see First Amended Class Action
             Complaint, ODonnell v. Harris County, No. 16-cv-01414 (S.D. Tex. Sept. 1, 2016); and
             Harris Cty. Criminal Courts at Law, Rules of Court (as amended through Dec. 1, 2016),
             http://www.ccl.hctx.net/attorneys/rules/rules.pdf. Others are reported as described in
             e-mail and telephone correspondence with Alex Bunin of the Harris County Public
             Defender office. See, e.g., E-mail from Alex Bunin, Harris Cty. Pub. Def., to Megan
             Stevenson, Quattrone Fellow, Univ. of Pa. Law Sch. (Oct. 20, 2015, 2:57 PM) (on file
             with authors).
         79. First Amended Class Action Complaint, supra note 78, ¶¶ 54, 56.


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        process for bail hearings. Defendants are taken to a conferencing facility
        within the jail and participate in the hearing by speaking to a split video screen
        that shows a prosecutor and the magistrate handling the hearing. 80 Bail
        hearings are typically handled in an assembly-line fashion, with some hearings
        lasting approximately a minute.81 Unless they have somehow managed to
        retain counsel, which is very rare, defendants are not represented at the bail
        hearings.82
             Magistrates making bail determinations have access to information from a
        pretrial services report that includes the defendant’s prior criminal record and
        can also ask the defendant questions during the bail hearing.83 Texas statutory
        law defines bail as “the security given by the accused that he will appear and
        answer before the proper court the accusation brought against him.” 84
        Notwithstanding this unitary focus on ensuring appearance, the law also
        directs the officer who sets bail to consider public safety in determining the
        bail amount.85
             In Harris County, bail is typically set according to a bail schedule promul-
        gated by the county courts. The schedule proposes bail of $500 for a low-level
        misdemeanor by a defendant with no prior criminal record and escalates bail in
        $500 increments according to the seriousness of the charged offense and the
        number of prior felony and misdemeanor convictions, up to a maximum of
        $5000.86 Although release without bail—referred to as a “personal bond” in
        Harris County—is allowed, it is not included on the schedule and occurs
        infrequently.87 Prosecutors have an opportunity during the bail hearing to
        argue for departures from the schedule.

         80. See id. ¶¶ 56, 65-66.
         81. Id. ¶ 67.
         82. Id. ¶ 61.
         83. This practice was described in e-mail and telephone correspondence with Alex Bunin.
            See E-mail from Alex Bunin to Megan Stevenson, supra note 78.
         84. TEX. CODE CRIM. PROC. ANN. art. 17.01 (West 2015).
         85. Id. art. 17.15(5).
         86. Harris Cty. Criminal Courts at Law, supra note 78, § 9.1, at 15. A nonprofit advocacy
             organization, Equal Justice Under Law, recently filed a civil rights lawsuit against
             Harris County on behalf of misdemeanor pretrial detainees, alleging that reliance on
             the bail schedule violates the Due Process and Equal Protection Clauses. See First
             Amended Class Action Complaint, supra note 78, at 2; see also Lise Olsen, Harris County’s
             Pretrial Detention Practices Challenged as Unlawful in Federal Court, HOUS. CHRON.
             (May 19, 2016), http://www.houstonchronicle.com/news/houston-texas/houston/
             article/Harris-County-s-pretrial-detention-practices-7759726.php.
         87. See TEX. CODE CRIM. PROC. ANN. art. 17.03 (defining “personal bond” and judicial
             authority to order it); HARRIS CTY. PRETRIAL SERVS., 2015 ANNUAL REPORT (n.d.) (noting
             that only 8.5% of misdemeanor defendants in Harris County posted personal bond in
             2015).


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             Nearly all misdemeanor defendants in Harris County are theoretically
        eligible for appointed counsel in the event of indigence. 88 To apply for
        appointed counsel, defendants must complete a form that asks about their
        income and other assets.89 Judges may also direct questions regarding
        defendants’ financial circumstances from the bench either during the bail
        hearing or in later proceedings.90 When it would facilitate a more orderly
        transaction of court business, particularly when defendants appear pro se
        (without a lawyer), the judge may appoint indigent counsel without a formal
        request.91 Although Texas law and the county’s written policy prohibit judges
        from considering whether a defendant made bail in deciding whether she
        qualifies for appointed counsel (except to the extent it reflects her financial
        circumstances),92 there is considerable anecdotal evidence suggesting that this
        rule is violated in practice.93 Thus under the current system, one potential
        impact of posting bail may be to alter one’s chances of receiving an appointed
        attorney.

             B. Representativeness of Harris County’s Misdemeanor Pretrial System
            The study is set in a populous urban area with criminal justice structures
        comparable to those in many large cities in the United States. Harris County is
        the third-largest county in the United States and is home to Houston, the
        nation’s fourth-largest city.94 Harris County boasts a diverse population of
        about 4.5 million residents, 19.6% of whom are African American, 42%
        Hispanic/Latino, 25.3% foreign-born, and 17.3% living below the federal

         88. See Harris Cty. Dist. Courts, Standards and Procedures: Appointment of Counsel for
             Indigent Defendants § 1.0 (2009), https://www.justex.net/JustexDocuments/0/
             FDAMS/standards.pdf. The analysis that follows controls for public defender
             representation on the theory that these cases may be systematically different from
             other cases.
         89. See id. § 1.1.
         90. See id. § 1.4.2.
         91. This is apparent on the basis of the data, which sometimes show counsel appointed
             without a motion (often on the day of final adjudication) and were confirmed in a
             personal conversation with Alex Bunin, Harris County Public Defender, on July 27,
             2016.
         92. TEX. CODE CRIM. PROC. ANN. art. 26.04(l)-(m); Harris Cty. Dist. Courts, supra note 88,
             § 1.2.
         93. See, e.g., Emily DePrang, Poor Judgment, TEX. OBSERVER (Oct. 12, 2015, 8:56 AM CST),
             https://www.texasobserver.org/poor-judgment; Paul B. Kennedy, Who Is Indigent in
             Harris County?, DEF. RESTS (Jan. 25, 2010, 3:28 PM), http://kennedy-law.blogspot.com/
             2010/01/who-is-indigent-in-harris-county.html.
         94. See Largest Counties in the U.S. 2015, supra note 11; see also Population Div., U.S. Census
             Bureau, The 15 Most Populous Cities: July 1, 2014 (2015), https://www.census.gov/
             content/dam/Census/newsroom/releases/2015/cb15-89_table3.xlsx.


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        poverty line.95 In Houston, which houses nearly half the county’s population,
        the 2014 Federal Bureau of Investigation (FBI) index crime rate was 1 per 100
        residents for violent crime and 5.7 per 100 residents overall, placing Houston
        thirtieth among the 111 U.S. cities with populations above 200,000. 96
             While the Bureau of Justice Statistics has collected extensive information
        about more serious crimes,97 there are no nationally representative data
        available on the numbers of misdemeanor arrests and convictions, let alone
        data about pretrial detention rates, bail, or sentencing. Nonetheless, other
        empirical studies on the effects of pretrial detention provide some insight into
        misdemeanor pretrial practices in other large urban areas and suggest that
        Harris County is not an outlier. In New York City, about 35% of misdemeanor
        defendants spend more than a week detained pretrial98 and 14% of misdemean-
        or defendants remain in jail during the entire pretrial period.99 Sixty-seven
        percent of misdemeanor defendants in New York City are convicted, and the
        vast majority of these convictions are guilty pleas. 100 Ten percent of
        misdemeanor defendants in New York City receive a sentence of incarcera-
        tion.101
             In Philadelphia, 25% of misdemeanor defendants remain in jail for more
        than three days after the bail hearing, and 50% are found guilty of at least one
        charge.102 Philadelphia, however, differs from many other jurisdictions in its
        broad use of bench trials (trials in front of a judge instead of a jury), which are
        the default for misdemeanor cases.103 As a result, the plea rate is much lower:
        only half of misdemeanor convictions in Philadelphia are achieved through
        plea negotiation. Sixteen percent of misdemeanor defendants receive a

          95. QuickFacts: Harris County, Texas, U.S. CENSUS BUREAU, https://www.census.gov/
             quickfacts/table/PST045215/48201 (last visited Mar. 3, 2017).
          96. The Authors’ calculations are based on data compiled from the FBI. See Table 8: Offenses
              Known to Law Enforcement, FED. BUREAU INVESTIGATION, https://ucr.fbi.gov/crime-in
              -the-u.s/2014/crime-in-the-u.s.-2014/tables/table-8/Table_8_Offenses_Known_to_
              Law_Enforcement_by_State_by_City_2014.xls (last visited Mar. 3, 2017).
          97. Data Collection: National Judicial Reporting Program (NJRP), BUREAU JUST. STAT.,
              http://www.bjs.gov/index.cfm?ty=dcdetail&iid=241 (last visited Mar. 3, 2017).
          98. For the data underlying the Authors’ calculations, see P HILLIPS, NONFELONY CASES,
              supra note 10, at 53 fig.11.
          99. See id. at 14 & tbl.2.
         100. For the data underlying the Authors’ calculations, see Leslie & Pope, supra note 73, at 30
              tbl.2.
         101. Id.
         102. The Philadelphia statistics in this paragraph are from the Authors’ calculations using
              data from Philadelphia court records. The underlying data can be requested from the
              Pennsylvania court system. See Public Record Policies, UNIFIED JUD. SYS. PA.,
              http://www.pacourts.us/public-record-policies (last visited Mar. 3, 2017).
         103. Stephen J. Schulhofer, Is Plea Bargaining Inevitable?, 97 HARV. L. REV. 1037, 1051 (1984).


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        sentence of incarceration, including those who receive a sentence of time
        served.
             The statistics in Harris County differ somewhat, but not dramatically,
        from those in New York City and Philadelphia.104 The detention rate is a bit
        higher: about 53% of misdemeanor defendants in Harris County are detained
        for more than seven days. The conviction rate is similar (68%), and, as in New
        York City, most convictions come about through guilty pleas (65%). The
        misdemeanor incarceration rate in Harris County is much higher than in the
        other two cities; 58% of those convicted receive a jail sentence, including time
        served. The average jail sentence, however, is relatively short at less than a
        month.
             Other pretrial practices in Harris County are regularly observed in other
        jurisdictions. For example, the use of a schedule specifying bail amounts based
        on the charge and prior convictions is not uncommon.105 A 2009 survey of
        pretrial services around the country indicates that 57% of jurisdictions use
        videoconferencing for bail hearings,106 as Harris County does. This same
        survey also indicates that about half of U.S. jurisdictions, like Harris County, do
        not provide representation at bail hearings. The use of commercial bail
        bondsmen is also fairly widespread. Four states—Illinois, Kentucky, Oregon,
        and Wisconsin—have banned the commercial bail bond industry, but bail
        bondsmen remain a common source for bail funds in most other states.107
        Thus, although Harris County has unique features, it is similar to many other
        jurisdictions in detaining substantial numbers of misdemeanor defendants
        pretrial; in its reliance on a cash bail schedule; in holding short, videoconfer-


         104. All Harris County statistics in this paragraph are from the Authors’ calculations using
             the dataset described in Part II.C below.
         105. The nonprofit advocacy organization Equal Justice Under Law has filed ten class
             action challenges in eight states to money bail practices that do not take ability to pay
             into account, including the use of bail schedules. The jurisdictions where lawsuits have
             been filed include both large urban areas, like San Francisco and Harris County, and
             smaller cities like Clanton, Alabama. See Ending the American Money Bail System, supra
             note 21 (describing the organization’s litigation campaign); see also, e.g., Walker v. City
             of Calhoun, No. 4:15-CV-0170-HLM, 2016 WL 361612, at *14 (N.D. Ga. Jan. 28, 2016)
             (granting the plaintiff’s motion for a preliminary injunction and holding that the city
             “may not continue to keep arrestees in its custody for any amount of time solely
             because the arrestees cannot afford a secured monetary bond”); Order, Pierce v. City of
             Velda City, No. 4:15-cv-570-HEA (E.D. Mo. June 3, 2015) (granting declaratory
             judgment for the plaintiffs, including new standards for pretrial release); First
             Amended Class Action Complaint, supra note 78.
        106. Pretrial Justice Inst., supra note 35, at 45 tbl.35.
        107. See Cohen & Reaves, supra note 2, at 2, 4 (showing that 48% of all pretrial releases
             studied were based on financial conditions, most of which—33% of all releases—were
             on surety bond).


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        ence bail hearings without court-appointed representation for the accused; and
        in the prominent role of a commercial bail bond industry.

             C. Data Description
             Study data are derived from the court docket sheets maintained by the
        Harris County District Clerk.108 These docket sheets include the universe of
        unsealed criminal cases adjudicated in the county and document considerable
        detail regarding each case. This Article focuses on 380,689 misdemeanor cases
        filed between 2008 and 2013. For each case, the docket data include the
        defendant’s name, address, and demographic information; prior criminal
        history; and most serious charge. To obtain information about the neighbor-
        hood environment for each defendant, the court data were linked by the
        defendant’s zip code of residence—which was available for 85% of defendants—
        to zip code-level demographic data from the 2008-2012 American Community
        Survey.109 The docket data also report the time of the bail hearing; the bail
        amount; whether and when bail was posted, the judge and courtroom
        assignment; motions and other metrics of procedural progress; and the final
        case outcome, including whether the case was resolved through a plea.
             The discussion and analysis below focus on the bail amount set at the
        initial hearing, which is likely to have a disproportionate impact on detention
        both because it is the operative bail during the early period when most
        defendants who post bail do so and because it serves as a reference point for any
        further negotiations over bail. However, in Harris County, as in other
        jurisdictions, judges can exercise discretion to adjust bail as additional facts
        about a particular defendant or case come to light.
             The court data have a few important limitations. Only a single, most
        serious charge is recorded in each misdemeanor case. This makes it impossible
        to clearly differentiate defendants with large numbers of charges. Although
        court personnel have access to criminal history information from across the
        state, these data only include criminal history data covering offenses within
        Harris County, not other jurisdictions. A further limitation is that the data do
        not always provide clear indications of failure to appear, an obvious outcome
        of interest in a comprehensive evaluation of bail since one of the main
        purposes of bail is to ensure appearance in court. The attorney information is
        also incomplete—although the data indicate the identity of court-appointed

        108. For these data, see Search Our Records and Documents, HARRIS COUNTY DISTRICT CLERK’S
              OFF., http://www.hcdistrictclerk.com/edocs/public/search.aspx (last visited Mar. 3,
              2017).
         109. American FactFinder—American Community Survey, U.S. CENSUS BUREAU,
              https://factfinder.census.gov/faces/nav/jsf/pages/programs.xhtml?program=acs (last
              visited Mar. 3, 2017).


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        counsel and the fact that they are court-appointed, the identity of counsel is not
        observed when privately retained. The data do not clearly distinguish those
        who proceed pro se and those who hire a private attorney. Race and citizenship
        data are not carefully verified, so they may not be fully reliable. 110 Additional-
        ly, although these data represent the near universe of criminal cases in the
        county, a small fraction of criminal court records are sealed or otherwise
        unavailable on the online court docket database. And finally, arrestees who
        successfully complete diversion programs through which they avoid having
        charges filed are not included in the data.111




         110. This was observed in e-mail and telephone correspondence with Alex Bunin. See, e.g.,
             E-mail from Alex Bunin to Paul Heaton, supra note 77.
         111. An example of one such program operating in Harris County is the First Chance
             Intervention Program, which diverts first-time, low-level marijuana offenders. See 1st
             Chance Intervention Program, HARRIS COUNTY OFF. DISTRICT ATT’Y, https://app.dao.hctx
             .net/OurOffice/FirstChanceIntervention.aspx (last visited Mar. 3, 2017).


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                                               Table 1
                       Characteristics of Defendants by Pretrial Release Status

                                               Overall             Detained          Released
        Convicted                           68.3%               79.4%             55.7%
        Guilty plea                         65.6%               76.8%             52.8%
        Any jail sentence                   58.7%               75.0%             40.2%
        Jail sentence days                  17.0                25.4              7.4
        Any probation sentence              14.0%               6.2%              22.9%
        Probation sentence days             49.4                22.5              79.9
        Requested appointed counsel         53.2%               71.3%             32.6%
        Amount of bail                      $2225               $2786             $1624
        Class A misdemeanor                 30.7%               33.5%             27.4%
        Male                                76.8%               79.8%             73.5%
        Age (years)                         30.8                31.6              30.0
        Black                               38.9%               45.6%             31.3%
        Citizen                             74.1%               71.5%             77.0%
        Prior misdemeanors                  1.51                2.08              0.85
        Prior felonies                      0.74                1.11              0.31
        Sample size                         380,689             202,386           178,303



             Table 1 above presents summary statistics describing the sample of
        misdemeanor defendants examined in the study. Any individual who did not
        post bond within the first seven days following the bail hearing is categorized
        as detained. The data reveal stark differences in plea rates, conviction rates, and
        jail sentences for detainees as compared to those who are able to make bail.
        However, detainees are also different from releasees across a number of
        preexisting characteristics that seem likely to be related to case outcomes. For
        example, detainees are much more likely to request appointed counsel due to
        indigence (71% versus 33%), are disproportionately charged with more serious
        Class A misdemeanors (34% versus 27%), and have more extensive prior
        criminal records. Thus, it remains unclear to what extent the differences in
        case outcomes reflect the effect of detention versus other preexisting
        differences across the two groups.

            D. Pretrial Detention and Wealth
            Not listed in Table 1 because it is unobserved in the data—though probably
        the most obvious characteristic that would differentiate the detained and
        released—is wealth. A clear concern with a predominantly cash-based bail

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        system as exists in Harris County is that individuals with money or other
        liquid assets will be most able to make bail, skewing the system in favor of the
        wealthy. Although the individual wealth of each defendant is unobserved, one
        can proxy for defendant wealth based upon median income in each defendant’s
        zip code of residence. To illustrate the prominent role of wealth in the pretrial
        system, Figure 1 below calculates the pretrial detention rate for defendants
        residing in each of the 217 zip codes observed in the data that contain at least
        fifty defendants and plots this against the median household income in the zip
        code.
             The pattern is striking. Those who come from poorer zip codes are
        substantially more likely to be detained than those from wealthier zip codes.
        Only about 30% of defendants from the wealthiest zip codes are detained
        pretrial, versus around 60-70% of defendants from the poorest zip codes.
             Although Figure 1 suggests that wealth may be an important determinant
        of pretrial release, it is possible that the patterns in Figure 1 reflect differential
        offending by defendants from lower-income zip codes. If, for example, lower-
        income misdemeanor defendants commit more serious offenses or tend to have
        more extensive criminal histories, one might expect them to be assigned higher
        bail amounts and be more likely to be detained for legally appropriate reasons.
        Figure 2 below, however, demonstrates that the strongly negative
        wealth/detention relationship persists when focusing on the pool of
        defendants with no prior charges in Harris County. Moreover, Figure 3 below,
        which shows the average seriousness of the charge, demonstrates that there is
        no relationship between wealth and offense seriousness.112 Thus, the wealth
        gradient does not seem to be explainable simply as a matter of more extensive
        or more serious offending by low-income defendants.
             Nor does the lower detention rate of wealthier defendants appear to be
        caused solely by differences in evidence or other factors related to public safety.
        This can be demonstrated by constructing an expected probability of detention
        for each defendant from the actual detention rates of all other defendants in the
        sample who were assigned identical bail amounts at the initial hearing. This
        measure captures the average custody outcome for all defendants who were
        considered by the court as representing the same degree of risk, at least as
        expressed through the bail amount. For defendants falling within each decile of
        the zip code income distribution, one can then compare this expected detention
        measure to the true rates of detention.
             Figure 4 below reveals a striking pattern in which the actual detention
        rates for the poorest defendants are substantially above those that would be
        predicted based upon their assigned bail and the reverse is true for the

         112. In a zip code-level regression of average seriousness on median household income, the
             estimated coefficient on income is practically small and not statistically significant.


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        wealthiest defendants. Defendants in the lowest-income decile are about 15% (8
        percentage points) more likely to be detained than would be expected based on
        their court-assigned bail. Those in the top decile are 19% (9 percentage points)
        less likely to be detained. Because these comparisons already account for the
        bail amount, the differences cannot be plausibly attributed to anything in the
        court record that might implicate worthiness for bail. It thus appears that
        wealthier defendants are advantaged in their ability to obtain pretrial release
        beyond what would be expected simply based on the merits of their case.
                                            Figure 1
         Relationship Between Wealth and Detention Rates Among Misdemeanor Defendants
                                     in Harris County, Texas
                             90%
                             80%
                             70%
                             60%
          Percent detained




                             50%
                             40%
                             30%
                             20%
                             10%
                             0%
                                   $0          $40,000          $80,000         $120,000         $160,000
                                                    Median household income in zip
                       This figure reports detention rates versus median income by zip code. Each dot in
                       the chart represents defendants residing within a particular zip code.




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                                                 Figure 2
             Relationship Between Wealth and Detention Rates Among Misdemeanor Defendants
                           with No Prior Criminal Record in Harris County, Texas

                                                   80%
         Percent detained, no prior convictions



                                                   70%
                                                   60%
                                                   50%
                                                   40%
                                                   30%
                                                   20%
                                                   10%
                                                    0%
                                                         $0            $40,000          $80,000            $120,000       $160,000
                                                                             Median household income in zip
                                                  This figure reports detention rates versus median income by zip code. Each dot in
                                                  the chart represents defendants residing within a particular zip code.




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                                                                      Figure 3
                                      Relationship Between Wealth and Offense Seriousness Among Misdemeanor
                                                         Defendants in Harris County, Texas
                                           50%
          Percent with low level offense




                                           40%

                                           30%

                                           20%

                                           10%

                                           0%
                                                 $0      $40,000          $80,000           $120,000       $160,000
                                                              Median household income in zip
                                   This figure reports the fraction of defendants charged with a Class A misdemean-
                                   or versus median income by zip code. Each dot in the chart represents defendants
                                   residing within a particular zip code.




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                                                           Figure 4
                             Expected Detention Rates Versus Actual Detention Rates by Income Decile

                            65%                                                      Expected detention rate
                                                                                     based on court-assigned
                            60%                                                      bail amount
                                                                                     Actual detention rate
                            55%
        Fraction detained




                            50%

                            45%

                            40%

                            35%
                                   0-10% 10-20% 20-30% 30-40% 40-50% 50-60% 60-70% 70-80% 80-90% 90-100%
                                   ($28K) ($32K) ($36K) ($39K) ($43K) ($47K) ($55K) ($63K) ($70K) ($93K)
                                    Poorest                                                         Wealthiest
                                                            Zip code income decile

                            Expected detention rates are calculated by comparing defendants to all other
                            defendants with equal bail amounts. Whiskers represent 95% confidence
                            intervals.




         III. Analysis of the Effects of Pretrial Detention
             This Part reports results from both a regression analysis and a quasi-
         experimental analysis of the effects of pretrial detention. The regression
         analysis yields more generalizable and more precise estimates, but it at least
         potentially suffers from bias due to failure to fully control for all relevant
         factors affecting outcomes. The quasi-experiment should address such omitted
         variable problems. However, both approaches ultimately yield similar
         conclusions, suggesting the regression analysis may work well when sufficient
         controls are available.




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             A. Regression Analysis
             To begin to assess the impacts of bail, a series of regression models were
        estimated where the unit of observation is a case, the outcome is whether the
        case resulted in conviction, and the primary explanatory variable is a 0/1
        indicator for whether a particular defendant was detained pretrial. The models
        progressively introduce richer and richer sets of control variables to assess the
        extent to which the measured “effects” of detention might simply be
        attributable to uncontrolled factors other than detention. 113 As additional
        controls are added, the estimates may get closer to the true causal estimate. But
        these estimates are all subject to the limitation that there may be uncontrolled,
        unobserved factors—such as defendant wealth or quality of evidence—that bias
        these as estimates of the causal effects of detention.
             Table 2 below reports the regression estimates. The first specification
        reports a coefficient from a bivariate regression with no controls. The baseline
        conviction rate for those not detained is 56%, so detainees are 23.6 percentage
        points (or 42%) more likely to be convicted. Specification 2 adds controls for
        the charged offense along with the age, race, gender, and citizenship status of
        the defendant. In contrast to prior research, which tends to group crimes into a
        small number of general categories (for example, “sex offense” or “minor public
        order offense”), this regression controls for 121 different offense categories
        representing a wide range of different types and severities of offenses. The only
        prior study to focus entirely on misdemeanors controlled for 10 offense
        categories.114 These additional controls do not dramatically alter the measured
        relationship between detention and conviction.
             Specification 3 adds controls for defendant build, skin color, and nativity
        and also includes a full set of fixed effects for the zip code of residence. One
        clear drawback of attempting to measure the effects of pretrial detention
        through regression modeling is that wealth and socioeconomic status (SES) are
        strong predictors of case outcomes and seem likely to be correlated with
        pretrial detention, but they are rarely observed in court data. By including zip
        code controls, these regression models in essence compare two individuals who
        come from the same neighborhood but differ in pretrial detention status.
        While wealth and SES can vary within a zip code, the high degree of



         113. We do not seek, by this methodology, to measure the effect of any of the variables we
              progressively introduce. For that purpose, this methodology would be flawed. See
              generally Jonah B. Gelbach, When Do Covariates Matter?: And Which Ones, and How
              Much?, 34 J. LAB. ECON. 509, 509-10 (2016) (discussing sequence sensitivity when adding
              covariates). We simply seek to assess the impact of detention under various specifica-
              tions of increasing complexity.
         114. See PHILLIPS, NONFELONY CASES, supra note 10, at 76 tbl.B.


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        socioeconomic segregation that exists in Harris County115 (as in many urban
        areas in the United States) suggests that zip codes can be a reasonable proxy for
        SES.116 Once again, the additional controls do not dramatically alter the results.
             Specification 4 includes indicators for the number of prior misdemeanor
        and felony charges and convictions as additional controls. Controlling for
        prior criminal history is important because prior offenses enter directly into
        the bail schedule and thus have a direct influence on detention. Prior criminal
        history may also factor into the outcome of the current case, particularly with
        regard to sentencing. As noted above, the criminal history data only capture
        criminal justice contacts within Harris County.117 After conditioning on
        factors such as citizenship status, nativity, and residence location, however, it
        seems less likely that patterns of out-of-county offending would differ
        systematically between those who are detained and those who are released.
        This suggests that the available controls may be adequate for capturing prior
        criminal activity. Somewhat surprisingly, controlling for prior criminal
        activity only modestly reduces the estimated relationship between detention
        and conviction.
             Although individual wealth is not directly observed, one can further proxy
        for wealth with whether a particular defendant requested appointed counsel,
        thereby claiming indigence. Specification 5 adds an indigence indicator to the
        set of control variables. Controlling for this proxy for wealth appreciably
        reduces the coefficient estimate on detention, but the estimate remains
        statistically significant and practically large.
             Specification 6 adds a full set of indicators for the actual bail amount set.
        This specification compares individuals who have the same bail set at their
        hearing—and who are also equivalent across all variables enumerated in prior
        specifications—but differ in their detention status. Since the amount of cash
        bail is, at least in theory, supposed to adjust to reflect the risk of flight and
        threat to public safety, conditioning precisely to the bail amount is akin to
        comparing individuals only to others whom the court has deemed equally
        risky. On a conceptual level, comparing individuals with similar court-
        determined risk is attractive because it means that any subsequent difference in
        outcomes cannot result from the sorting function of the bail process; the
        controls completely account for the instrumentality of sorting, which is the

         115. See, e.g., Harris Cty. Cmty. Servs. Dep’t, Program Year 2013-2017: Consolidated Plan 3-
              25, 3-37 (2013), http://www.csd.hctx.net/PYConsolidatedPlan.aspx (showing substan-
              tial amounts of segregation by income and educational attainment in Harris County).
         116. Using average zip code wealth as a proxy for individual wealth is a common method
              when individual-level data are not available. For a more detailed discussion, see Arline
              T. Geronimus et al., On the Validity of Using Census Geocode Characteristics to Proxy
              Individual Socioeconomic Characteristics, 91 J. AM. STAT. ASS’N 529 (1996).
         117. See supra Part II.C.


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        bail amount. In this, the preferred specification, pretrial detention is associated
        with a 14 percentage point (or 25%) increase in the likelihood of conviction.




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                                              Table 2
               Regression Estimates of the Effect of Pretrial Detention on Conviction
            Specification
            1. No controls                                                      0.236**
                                                                                (0.001)
            2. Add controls for offense and basic demographics                  0.266**
                                                                                (0.002)
            3. Add controls for zip code of residence and other characteris-    0.255**
                tics                                                            (0.002)
            4. Add controls for prior criminal history                          0.220**
                                                                                (0.002)
            5. Add control for a claim of indigence                             0.151**
                                                                                (0.002)
            6. Add control for bail amount                                      0.140**
                                                                                (0.002)
            This table reports coefficient estimates from linear probability regressions
            estimating the relationship between pretrial detention and whether a misde-
            meanor defendant is convicted. The unit of observation is a case, and the sample
            size is 380,689. The dependent variable is an indicator for whether a particular
            defendant in a case was convicted, and the primary explanatory variable of
            interest is an indicator for whether the defendant in the case was released pretrial.
            Each table entry reports a coefficient from a separate regression; coefficients on
            other control variables are unreported. The mean conviction probability among
            those not detained was 0.557. Specification 1 is a simple bivariate regression.
            Specification 2 adds controls for defendant age (85 categories), gender, race (6
            categories), citizenship status (3 categories), charged offense (121 categories), and
            week of case filing (289 categories). Specification 3 adds controls for the defend-
            ant’s skin tone (14 categories), build (5 categories), whether the defendant was
            born in Texas, and zip code of residence (223 categories). Specification 4 adds
            controls for the number of prior misdemeanor and felony charges (10 misde-
            meanor and 10 felony categories) and convictions (10 misdemeanor and 10 felony
            categories). Specification 5 adds an indicator for whether a defendant requested
            appointed counsel due to indigence. Specification 6 adds a full set of initial bail
            amount fixed effects (315 categories) as additional controls. Because the public
            defender handles a nonrandom subset of misdemeanors, all regressions with
            controls include an indicator for cases handled by the public defender. Robust
            standard errors are reported in parentheses. ** indicates an estimate that is
            statistically significant at the 0.01 level.



             One variable not included in these specifications that might be important
        is the type of defense representation actually provided (for instance, hired
        private counsel, public defender, appointed private counsel, or no counsel). It is
        not included for two reasons: First, it cannot fully control for representation
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        type because the data do not distinguish between those who hire a private
        attorney and those who choose to represent themselves. 118 While one can
        control for whether the defendant receives a court-appointed attorney, this
        specification is difficult to interpret, as it essentially places those with a hired
        attorney and those representing themselves in the same category. Second, it
        might not be optimal to control for counsel type even if the data were
        available. The type of counsel may itself be an outcome of whether the
        defendant is detained pretrial; to control for it is thus to ignore one important
        effect of detention. Changes to detention policy would likely also alter the type
        of representation received by defendants.119
             Finally, controlling for counsel type might actually introduce a new
        source of bias. In general, statistical practice cautions against controlling for
        variables that are not predetermined (for instance, variables that are influenced
        by the main variable of interest). The evidence suggests that judges are more
        likely to approve a request for counsel if the defendant is detained. 120 This
        suggests that releasees who receive court-appointed attorneys may be poorer
        and have more challenging cases than detainees with appointed counsel. Thus,
        controlling for attorney status would tend to bias the results toward zero;
        instead of comparing similarly situated individuals, one would be comparing
        relatively wealthy detainees with relatively poor releasees.
             Nonetheless, for the sake of completeness, a specification that controls for
        whether the defendant received a court-appointed attorney was also estimated.
        The estimated coefficient was 0.042 with a p-value < 0.01—a smaller
        bail/conviction relationship, but one that remains statistically significant and
        relevant for policy purposes. This is not the preferred specification, however,
        due to both the data limitations and the difficulties of interpreting the results
        of a regression that controls for one of the outcomes of pretrial detention.
             The basic message from the analysis of conviction is that accounting for
        preexisting differences in detainees and releasees is important, but even after
        controlling for a fairly wide range of relevant characteristics, pretrial
        detention remains a sizeable predictor of outcomes.

         118. In Harris County, judges will as a rule not proceed in misdemeanor cases without
              eventually assigning counsel. But in rare cases, defendants insist on representing
              themselves. See E-mail from Alex Bunin to Paul Heaton, supra note 77.
         119. Detention may also affect attorney type through other channels. Those who have lost
              their job as a result of detention, for instance, may be less able to afford a private
              attorney.
         120. There is some evidence that judges see the posting of bail as an indication that a
              defendant is not indigent enough to merit public defense. See DePrang, supra note 93. In
              Harris County, 90% of detainee requests for counsel are granted but only 44% of
              releasee requests, according to the Authors’ calculations. This could be because the act
              of paying bail is interpreted as evidence that the defendant has funds or because
              detainees are unable to work while detained.


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             Table 3 below extends the analysis to consider a range of additional case
        outcomes. The first row of the table replicates the previously reported results
        for conviction. The columns of the table report results from regressions with
        no controls, with a limited set of controls (basic offense and demographics,
        similar to much of the past research measuring the effects of detention), and
        from the preferred specification that controls for a rich set of defendant and
        case characteristics and the bail amount (equivalent to Specification 6 in
        Table 2). Although detention has a sizable impact on all outcomes, estimated
        effects become smaller as one controls for a richer set of defendant and case
        characteristics. This indicates that prior research, which controlled for a
        limited set of variables, may indeed have overestimated the causal effect of
        detention.
             The table demonstrates that nearly all of the difference in convictions can
        be explained by higher plea rates among those who are detained, with detainees
        pleading at a 25% (13 percentage points) higher rate than similarly situated
        releasees. We also find that those detained are more likely to receive jail
        sentences instead of probation. In our preferred specification, those detained
        are 43% (17 percentage points) more likely to receive a jail sentence and receive
        jail sentences that are nine days longer than (or more than double that of)
        nondetainees. This estimate of the impact of pretrial detention includes in the
        sample those without a jail sentence, so it incorporates both the extensive
        effect on jail time (those detainees who, but for detention, would not have
        received a jail sentence at all) and the intensive effect on jail time (those who
        would have received a jail sentence regardless but whose sentence may be
        longer as a result of detention). Those detained are both less likely to receive
        sentences of probation and receive fewer days of probation (including, once
        again, both the extensive and intensive margin).
             These results do not provide definitive evidence on which of the various
        potential mechanisms linking detention to case outcomes operate in Harris
        County. However, the overall patterns in Table 3 are consistent with an
        environment in which released defendants are able to engage in prophylactic
        measures—maintaining a clean record, engaging in substance abuse treatment
        or anger management, or providing restitution—that lead to charges being
        dismissed and encourage more lenient treatment. Detained defendants, in
        contrast, have essentially accumulated credits toward a final sentence of jail as
        a result of their detention and are therefore more likely to accede to and
        receive sentences of imprisonment.
             One can also construct estimates of the effects of detention analogous to
        those presented in Tables 2 and 3 but limiting the sample to various subsets of
        the defendant population. Comparing the estimated impact of detention across
        different subgroups offers a means of assessing whether certain types of
        defendants are more or less disadvantaged by detention. For example, if one
        mechanism through which detention induces guilty pleas is causing some
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        defendants to “pre-serve” their expected sentences so that contesting guilt has
        little ultimate effect on the amount of punishment, one might expect to see
        larger effects of detention for offenses where the expected punishment is low.
                                                Table 3
           Regression Estimates of the Effect of Pretrial Detention on Other Case Outcomes

                                                 Estimated Effect of Pretrial Detention
                              Average
                             for Those                              Limited          Preferred
           Outcome            Released       No Controls           Controls       Specification
        Conviction          0.557           0.236**             0.266**           0.140**
                                            (0.001)             (0.002)           (0.002)
        Guilty plea         0.528           0.240**             0.264**           0.133**
                                            (0.002)             (0.002)           (0.002)
        Received jail       0.402           0.348**             0.317**           0.172**
        sentence                            (0.002)             (0.002)           (0.002)
        Jail sentence       7.38            18.0**              15.85**           8.67**
        days                                (0.10)              (0.10)            (0.12)
        Received            0.229           -0.167**            -0.125**          -0.076**
        probation                           (0.001)             (0.001)           (0.001)
        Probation days      79.9            -57.5**             -41.2**           -25.3**
                                            (0.45)              (0.46)            (0.55)
            This table reports coefficient estimates from linear regressions estimating the
            relationship between case outcomes and whether a defendant was detained
            pretrial. Each entry represents results from a unique regression. The “limited
            controls” column reports regressions with controls as in Specification 2 of
            Table 2, and the “preferred specification” column reports regressions with
            controls as in Specification 6 of Table 2. The “jail sentence days” and “probation
            days” outcomes include defendants assigned no jail or probation. ** indicates an
            estimate that is statistically significant at the 0.01 level. Standard errors are
            reported in parentheses.



             Table 4 below reports such a subgroup analysis. It first considers differ-
        ences by prior criminal history, comparing defendants with no prior charges
        in Harris County to those with prior charges. Categorizing by charges rather
        than convictions accounts for the possibility that some individuals who are
        charged but later acquitted may have nonetheless accumulated experience with
        pretrial detention. Several mechanisms suggest that there may be different
        effects of detention for someone who has never been previously detained. First,
        those with prior experience in detention may experience less psychological or
        emotional discomfort because they have a clearer idea of what detention
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        entails, a sort of acclimation effect.121 Second, these defendants may experience
        fewer collateral consequences of detention, either because they have already
        been labeled as offenders or because they have accumulated experience in
        dealing with collateral consequences. Finally, those with no prior record may
        be more likely to receive plea offers that involve low sanctions, increasing
        their incentives to accept the plea even if innocent.
             Table 4 reveals that defendants without prior records are disproportion-
        ately affected by detention. Detention has more than twice the effect on
        conviction for first-time offenders and appreciably increases their likelihood
        of being given a custodial sentence. Although other explanations are possible,
        this pattern is consistent with a scenario in which defendants detained for the
        first time are particularly eager to cut a deal to escape custody as quickly as
        possible; more experienced defendants, who perhaps have become acclimated
        to the jail environment or who face more serious consequences of conviction,
        are less influenced by their detention status. It appears that one consequence of
        pretrial detention, at least as practiced in Harris County, is that it causes large
        numbers of first-time alleged misdemeanants to be convicted and sentenced to
        jail time, rather than receiving intermediate sanctions or avoiding a criminal
        conviction altogether.
             Table 4 demonstrates few differences in outcomes between “whites” and
        “nonwhites” or between U.S. citizens and noncitizens.122 Incentives to post bail
        may be different for noncitizens with immigration detainers, who are often
        held in custody for immigration purposes even after posting bail.123 However,
        the fact that results are similar for citizens and noncitizens suggests that
        detainers may not be an important omitted variable here.
             There is some important heterogeneity in the effects of custody by the
        primary offense of record. For driving while intoxicated (DWI), for example,
        detention has little effect on adjudication of guilt—presumably because there is
        sufficient evidence from alcohol tests in most cases to convict. 124 But there is


         121. Cf. Craig Haney, The Psychological Impact of Incarceration: Implications for Post-Prison
              Adjustment, in PRISONERS ONCE REMOVED: THE IMPACT OF INCARCERATION AND
              REENTRY ON CHILDREN, FAMILIES, AND COMMUNITIES 33, 37-38 (Jeremy Travis &
              Michelle Waul eds., 2003) (discussing acclimation to incarceration).
         122. As noted above, see supra Part II.C, the race and citizenship designations in the Harris
              County data may not be wholly reliable.
         123. See Lena Graber & Amy Schnitzer, Nat’l Immigration Project of the Nat’l Lawyers
              Guild, The Bail Reform Act and Release from Criminal and Immigration Custody for
              Federal Criminal Defendants 1 (2013), https://nationalimmigrationproject.org/PDFs/
              practitioners/practice_advisories/crim/2013_Jun_federal-bail.pdf.
         124. See TEX. OFFICE OF COURT ADMIN., ANNUAL STATISTICAL REPORT FOR THE TEXAS
              JUDICIARY: FISCAL YEAR 2014, at 72 (2015), http://www.txcourts.gov/media/885306/
              Annual-Statistical-Report-FY-2014.pdf (showing that DWI has the highest rate of
                                                                         footnote continued on next page
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        evidence that those who are not detained are much more readily able to
        substitute probation for a custodial sentence. The largest effects on conviction
        accrue for assault and trespassing, two crimes for which physical evidence may
        be lacking and the ability to obtain statements from witnesses in court may
        play an important role.125
             Consistent with the evidence for defendants of varying criminal history,
        when examining subsets of the defendant population based on assigned bail,
        the most substantial effects are observed for those with low bail, at least for
        conviction and type of sentence. Effects on sentence length are largest in
        absolute terms for those with higher bail amounts, but this is perhaps
        unsurprising because these defendants face more serious sentences overall.
        Detention has a greater relative effect on sentence length for people with low
        bail, given their shorter average sentence lengths. One implication of these
        patterns is that Harris County could potentially achieve much of the benefit of
        liberalizing access to pretrial release by focusing on those with the lowest bail
        amounts, which may make reform more politically feasible. This may also be
        true in other jurisdictions similar to Harris County.
             Finally, the effects of bail by zip code wealth quartile were analyzed to
        determine whether those detained from wealthier zip codes fare as badly in
        their case outcomes as those from poorer zip codes. Although Table 4 shows
        that those from the poorest areas of the county are much more likely to be
        detained, the effects of detention itself are fairly uniform across the wealth
        distribution. Thus, those who cannot post bond suffer higher conviction rates
        and a lowered likelihood of probation versus jail even when they come from
        more affluent parts of the county.




              guilty pleas and the highest conviction rate across all categories of misdemeanors in the
              state).
         125. Stevenson observes similar patterns in her Philadelphia data. See Stevenson, supra note
              35, at 21-22, 43 fig.4a (showing that effect sizes are largest among case types where
              evidence tends to be weaker).


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                                                           Table 4
                             Estimated Effects of Pretrial Detention for Population Subgroups

                                           Group                                  Jail  Sentenced Probation
                                        Detention Convic-         Sentenced Sentence         to     Sentence
                              Group         Date     tion           to Jail?    (Days) Probation? (Days)
                           No prior     0.384    0.195**         0.213**     7.07**    -0.084**   -23.6**
         Criminal
          history




                           charges               (0.003)         (0.003)     (0.126)   (0.003)    (0.909)
                           Prior        0.634    0.092**         0.128**     9.44**    -0.057**   -23.0**
                           charges               (0.002)         (0.002)     (0.177)   (0.001)    (0.677)
                                        0.514    0.145**         0.163**     8.24**    -0.064**   -19.9**
                           U.S. citizen
         Citizen-




                                                 (0.002)         (0.002)     (0.137)   (0.002)    (0.630)
           ship




                                        0.586    0.114**         0.178**     9.50**    -0.099**   -36.4**
                           Noncitizen
                                                 (0.004)         (0.004)     (0.219)   (0.003)    (1.12)
                                        0.481    0.143**         0.184**     9.63**    -0.085**   -29.6**
                           White
                                                 (0.002)         (0.002)     (0.156)   (0.002)    (0.784)
         Race




                                        0.603    0.132**         0.148**     7.12**    -0.058**   -16.5**
                           Nonwhite
                                                 (0.003)         (0.003)     (0.173)   (0.002)    (0.728)
                                        0.464    0.150**         0.143**     5.31**    -0.033**   -7.34**
                           Drug
                                                 (0.004)         (0.004)     (0.142)   (0.003)    (0.868)
                                        0.309    0.034**         0.224**     13.22**   -0.190**   -82.8**
                           DWI
                                                 (0.004)         (0.005)     (0.331)   (0.005)    (2.35)
         Offense




                                        0.597    0.215**         0.210**     15.51**   -0.046**   -12.3**
                           Assault
                                                 (0.007)         (0.007)     (0.528)   (0.005)    (2.11)
                                        0.592    0.151**         0.132**     5.26**    -0.094**   -23.1**
                           Theft
                                                 (0.005)         (0.005)     (0.245)   (0.004)    (1.48)
                                        0.809    0.196**         0.229**     8.04**    -0.047**   -12.5**
                           Trespassing
                                                 (0.008)         (0.008)     (0.409)   (0.004)    (1.30)
                                        0.353    0.179**         0.198**     5.75**    -0.082**   -2.88**
                           $0-$500
         Bond amount




                                                 (0.003)         (0.003)     (0.109)   (0.003)    (1.02)
                                        0.464    0.146**         0.173**     8.42**    -0.075**   -24.2**
                           $501-$2500
                                                 (0.003)         (0.003)     (0.180)   (0.002)    (0.975)
                                        0.704    0.085**         0.128**     10.92**   -0.053**   -25.3**
                           $2501+
                                                 (0.003)         (0.003)     (0.265)   (0.002)    (0.855)
                                        0.597    0.131**         0.175**     9.13**    -0.087**   -29.6**
                           1st quartile
                                                 (0.004)         (0.004)     (0.267)   (0.003)    (1.07)
         Zip code income




                                        0.550    0.127**         0.166**     8.61**    -0.084**   -27.8**
                           2d quartile
             quartile




                                                 (0.004)         (0.004)     (0.261)   (0.003)    (1.14)
                                        0.495    0.148**         0.170**     8.25**    -0.069**   -21.9**
                           3d quartile
                                                 (0.004)         (0.004)     (0.230)   (0.003)    (1.17)
                           4th quartile 0.423    0.158**         0.168**     8.32**    -0.053**   -16.9**
                           (highest)             (0.004)         (0.004)     (0.238)   (0.003)    (1.37)
                       This table reports coefficient estimates from linear regressions estimating the
                       relationship between case outcomes and whether a defendant was detained
                       pretrial for subgroups of the defendant population. Each entry represents results
                       from a unique regression. Controls are as in Specification 6 of Table 2. ** indicates

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             that the estimate is statistically significant at the 0.01 level. Standard errors are
             reported in parentheses.




             B. Natural Experiment
             The preceding analysis indicates that even after controlling for a wide
        range of defendant and case characteristics, including bail amount (which
        should capture the information observed by the court when making bail
        decisions), there remains a large gap in case outcomes between those who are
        detained and observationally similar defendants who make bail. Nevertheless,
        it remains possible that some of the differences in outcomes revealed thus far
        reflect unobserved factors other than pretrial detention that were not
        controlled for in the regression analysis.
             From a purely research perspective, the ideal approach to estimating the
        causal effect of pretrial detention would be to randomly select a subset of
        defendants, detain them, and then compare their downstream outcomes with
        those who were not detained. Random assignment to detention status would
        help ensure that the two groups were otherwise comparable on other factors
        that might influence outcomes, including culpability. As a practical matter,
        however, implementing such an experiment would be unethical.
             Absent the ability to run a true experiment, one might seek to identify a
        naturally occurring “experiment” or some situation that causes pretrial
        detention to vary across different defendants for reasons unrelated to their
        underlying characteristics or culpability. Comparing outcomes among those
        more likely to be detained for such idiosyncratic reasons to those less likely to
        be detained could offer another measure of the effects of detention.
             The next analysis compares defendants with bail hearings earlier in the
        week to those with hearings later in the week as a sort of natural experiment,
        under the theory that those with bail set later in the week are more likely to
        actually make bail. This analysis is limited to bail hearings that occur Tuesday
        through Thursday so as to focus on a set of days with fairly uniform crime
        patterns and avoid comparisons between crime occurring on the weekends—
        which tends to involve different types of actors and activities—and crime
        occurring on weekdays.126
             Table 5 below helps illustrate the logic behind this natural experiment,
        reporting the time elapsed between the bail hearing and posting of bond for


         126. The similarity of cases between Tuesday and Thursday can be seen in Table 6, and the
             differences between midweek and weekend crimes are from the Authors’ calculations
             using Harris County data.


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        those who successfully make bail. The first forty-eight hours following the bail
        hearing appear to be a fairly critical period for making bail, as 77% of all those
        who eventually make bail do so during this period. Put differently, at the time
        of the bail hearing, a representative defendant has a 44% chance of being
        detained until judgment, but after two days have elapsed without yet making
        bail, the chances of never making bail have risen to 75%.
                                            Table 5
          Time Elapsed Between Bail Bond Hearing and Release for Misdemeanor Defendants
                              Posting Bond in Harris County, Texas
                                             Number of                       Percent of
                                             Defendants                     Defendants
               Same day                      107,327                        50.30%
               1 day later                   50,191                         23.52%
               2 days later                  7598                           3.56%
               3 days later                  3794                           1.78%
               4 days later                  2867                           1.34%
               5 days later                  2493                           1.17%
               6 days later                  2103                           0.99%
               7 days later                  1930                           0.90%
               > 7 days later                35,088                         16.44%



             Typically, defendants rely on friends or family members to either post
        cash bail at a predetermined facility127 or visit a bail bonding company, which
        then posts a surety bond. The premise behind the natural experiment is that it
        is easier to get ahold of someone who is willing to show up to post bail on the
        weekend than during the week. As an example, consider a defendant with a
        Tuesday bail hearing who then must get in contact with someone to post bail.
        Family members or friends may be reluctant to disrupt school or work
        schedules to come to the bail facility and post bond, and they may be more
        difficult to contact if they are at work or otherwise away from home. A
        similarly situated defendant with a bail hearing on a Thursday, in contrast,
        may have an easier time getting ahold of someone who is willing to appear to
        post bail since the acquaintance could more easily do so on a Saturday.
             An additional factor that may contribute to a defendant’s ability to make
        bail is liquidity. Because bail must be paid in cash or cash equivalents (cashier’s

         127. In Harris County, this is the correctional office complex located at 49 San Jacinto Street
             in Houston. See Inmate Bonding Process, HARRIS COUNTY SHERIFF’S OFF., http://www.
             sheriff.hctx.net/JailInfo/inmate_info_inmate_bondingprocess.aspx   (last    visited
             Mar. 3, 2017).


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        check or money order) in Harris County,128 to the extent access to cash varies
        over the course of the week, this is likely to affect access to pretrial release.
        Many workers are paid on Friday, and so workers may have more ready access
        to cash on weekends immediately after being paid than at other times during
        the week.129 Thus, this liquidity channel might also explain why those with
        bail hearings closer to the weekend could be more likely to make bail.
             Figure 5 below provides evidence that weekend availability may indeed be
        a constraint affecting pretrial release by comparing the distribution of bail
        hearing dates over the course of the week with the dates on which defendants
        actually post bond. If it were equally easy to get a friend to post bond on any
        day of the week, one might expect the distribution of release days to closely
        mirror the distribution of bail hearings. In actuality, however, the figure
        reveals that releases are disproportionately more likely on Saturdays and
        Sundays and less likely in the middle of the week. While other factors certainly
        influence the patterns shown in Figure 5, this simple comparison suggests that
        it may be easier to obtain release if the critical forty-eight-hour period when
        pretrial releases most often occur overlaps with a weekend.




         128. See id.
         129. Figure A.1 in the Appendix below provides direct evidence for this point by plotting
             Google search volume for the terms “payday,” “check cashing,” and “payday loans” by
             day of the week. Search volume for “payday” peaks on Friday, and demand for check-
             cashing services is highest on Friday, Saturday, and Sunday. Searches for “payday loans”
             show a reverse pattern, with the lowest search traffic observed on Saturdays and
             Sundays. Payday loans are typically provided by outlets similar to those offering check-
             cashing services.


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                                             Figure 5
          Comparison of Timing of Bail Hearings Versus Timing of Release by Day of Hearing

          17%
                                       Share of bail hearings
          16%
                                       Share of bail releases
          15%

          14%

          13%

          12%

          11%

          10%
                   Sunday       Monday      Tuesday Wednesday Thursday              Friday     Saturday



             The basic premise underlying this natural experiment is that defendants
        with bail hearings on Thursdays should be largely similar to those with bail
        hearings on Tuesdays and Wednesdays, including in underlying culpability,
        but Thursday defendants may be more likely to make bail simply because there
        is an upcoming weekend when family or a friend can more easily appear with
        the cash necessary to post bail. Table 6 below explores this possibility by
        comparing the average characteristics of defendants with bail hearings held on
        Tuesday, Wednesday, and Thursday and reports results from tests designed to
        assess whether there is a statistically significant difference across the three
        groups of defendants in the listed characteristics. Because there is abundant
        evidence that the composition of offenses varies by day of the week 130 and
        differences in the charged offense could legitimately affect pretrial detention,
        the comparisons in Table 6 control for the underlying offense, which is

         130. See, e.g., Gerhard J. Falk, The Influence of the Seasons on the Crime Rate, 43 J. CRIM. L. &
             CRIMINOLOGY 199, 212 (1952); Marcus Felson & Erika Poulsen, Simple Indicators of Crime
             by Time of Day, 19 INT’L J. FORECASTING 595, 596 (2003); Chief Justice Earl Warren Inst.
             on Law & Soc. Policy, When and Where Does Crime Occur in Oakland?: A Temporal
             and Spatial Analysis (January 2008-July 2013), at 5 (2014), https://www.law.berkeley
             .edu/files/When_and_Where_Does_Crime_Occur_in_Oakland.pdf.


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        conceptually equivalent to comparing defendants charged with the same
        offense who appear at bail hearings on different days.
                                               Table 6
                    Average Characteristics of Defendants by Day of Bail Hearing

                                          Tuesday          Wednesday Thursday              p-Value
        Amount of bail                $2297               $2300            $2297           0.945
        Pretrial release              40.6%               41.8%            44.2%           0.000
        Class A misdemeanor           31.1%               31.1%            31.1%           0.916
        Male                          75.3%               74.9%            75.2%           0.159
        Age (years)                   30.7                30.7             30.7            0.809
        Black                         43.1%               44.0%            44.3%           0.000
        Citizen                       76.2%               76.0%            76.1%           0.822
        Height (in.)                  67.8                67.8             67.8            0.576
        Weight (lbs.)                 164.8               164.7            164.9           0.573
        Born in Texas                 46.0%               46.0%            46.3%           0.495
        Dark complexion               20.7%               20.8%            21.2%           0.212
        Prior misdemeanor charges     1.90                1.91             1.90            0.476
        Prior misdemeanor convictions 1.63                1.65             1.63            0.407
        Prior felony charges          1.05                1.06             1.04            0.272
        Prior felony convictions      0.83                0.84             0.82            0.109
        Requested appointed counsel   55.2%               54.6%            53.6%           0.000
            Reported p-values are p-values from statistical tests of the null hypothesis that the
            characteristics listed in each row do not vary on average across all three days of
            the week. Averages are calculated controlling for underlying offense, so Class A
            misdemeanor rates are equal by design.



             Table 6 suggests a remarkable degree of similarity among defendants with
        bail hearings on Tuesdays, Wednesdays, and Thursdays across a broad range of
        case and offender characteristics. While for a few characteristics (including
        race and appointed counsel request) there are statistically significant
        differences due to the large sample, the sizes of these differences are quite small.
        Importantly, as demonstrated in the first row of the table, the actual bail
        amounts set for these different groups are statistically and practically the same
        on average, and, as shown in Appendix Figure A.2, the entire distribution of
        bail amounts is in fact virtually unvarying across day of bail hearing. These
        patterns provide strong evidence that courts view these three sets of
        defendants as identical in terms of their worthiness for pretrial release.
        However, the second row of the table demonstrates that, despite being assessed
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        the same bail amounts, defendants with hearings on Thursday are about 3.6
        percentage points (or 9%) more likely to make bail than those with hearings on
        Tuesday. This difference seems likely attributable to ease in producing cash for
        bail, which may be greater on weekends for the reasons described above.
        Because the convenience of paying bail is likely unrelated to a defendant’s
        underlying culpability, the weekend effect shown in Figure 5 offers a plausible
        source of variation in pretrial detention that might be used to measure its
        causal effect.131
             The main results from the analysis based on the natural experiment are
        presented in Table 7 below. For reference in gauging the magnitude of pretrial
        detention’s impacts, the first column reports the average outcome among
        defendants released pretrial. The second column reports coefficient estimates
        from ordinary regressions similar to those presented previously, where the
        offense, defendant demographics, zip code, prior criminal history, indigence
        status, and bail amount have been controlled. These estimates differ from those
        presented in the third column of Table 3 only because the sample for this
        analysis is restricted to the subset of defendants with bail hearings on Tuesday,
        Wednesday, or Thursday. The final column reports effects as measured by the
        natural experiment, which are estimated using two-stage least squares in an
        instrumental variables (IV) framework.132
             Several patterns in the table are notable. The natural experiment/IV
        estimates are large, almost all statistically significant, and, consonant with the
        regression results, indicate that pretrial detention greatly influences case
        outcomes. As a general matter, the IV point estimates indicate larger effects of
        pretrial detention than the regression estimates, suggesting that the estimates
        presented earlier, to the extent they imperfectly capture the causal effect of
        pretrial detention due to inability to control for all relevant factors, may in fact

         131. One might wonder why defendants arrested on Tuesday do not simply wait until the
              weekend to post bail and get out. There are several possible explanations. It may be that
              for those who lose jobs or suffer other major life disruptions as the result of pretrial
              detention, the damage is done within the first few days and spending money on bail
              thus offers diminishing returns (especially if the money will go to a bail bondsman).
              Moreover, for a crime with an expected punishment of a few days’ imprisonment, a
              quick guilty plea may become relatively more attractive after a few days than posting
              bail.
         132. Two-stage least squares is a regression-based approach for measuring the effect of an
              explanatory variable (here, detention) on an outcome, controlling for other factors,
              that relies on an “instrument” (here, day of week of bail hearing) that shifts the
              explanatory variable but is thought to be otherwise unrelated to the outcome. By only
              exploiting variation in the explanatory variable that arises due to the instrument—
              which may be less prone to incorporating the influences of unobserved, confounding
              factors—this approach is designed to deliver better causal estimates. See JOSHUA D.
              ANGRIST & JÖRN-STEFFEN PISCHKE, MOSTLY HARMLESS ECONOMETRICS: AN EMPIRICIST’S
              COMPANION 113-216 (2009).


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        understate its effects. Such understatement could occur if, for example,
        defendants who have spent their funds paying bail are less able to afford a high-
        quality private attorney than a similarly situated (from the same zip code,
        charged with the same crime, et cetera) individual who did not pay bail. For all
        of the outcomes except jail days, however, the difference between the natural
        experiment and regression estimates is not statistically significant. This
        suggests that the regression approach yields reasonable causal estimates when
        sufficient controls are available.
                                                   Table 7
                       Effects of Pretrial Detention Based on the Natural Experiment

                                                                    Estimated Effect of
                                                                    Pretrial Detention
                                   Average for             Regression with           Natural
           Outcome               Those Released                 Controls          Experiment
        Conviction              0.542                     0.122**             0.204**
                                                          (0.003)             (0.077)
        Guilty plea             0.510                     0.116**             0.234**
                                                          (0.003)             (0.078)
        Received jail           0.410                     0.142**             0.227**
        sentence                                          (0.003)             (0.078)
        Jail sentence days      7.5                       7.33**              19.3**
                                                          (0.18)              (5.39)
        Received probation      0.214                     -0.067**            -0.124*
                                                          (0.002)             (0.058)
        Probation days          71.2                      -2.2**              -42.3
                                                          (0.81)              (22.1)
            This table reports coefficients from ordinary least squares (column two) and IV
            (column three) regressions measuring the effect of pretrial detention on the listed
            outcome. In the IV regressions, the instrument is whether the bail hearing
            occurred on Tuesday, Wednesday, or Thursday; the unreported first-stage effect
            is in the expected direction and highly significant. Controls are as in Specification
            6 of Table 2. Each reported estimated effect is from a unique regression. The
            sample size is 146,078, and the sample is limited to defendants with bail hearings
            on Tuesday, Wednesday, or Thursday. * indicates that the estimate is statistically
            significant at the 0.05 level. ** indicates that the estimate is statistically significant
            at the 0.01 level. Standard errors are reported in parentheses.



            The natural experiment is not without drawbacks. The underlying
        assumption of the natural experiment—that those with Thursday bail hearings
        would have had similar case outcomes to those with Tuesday or Wednesday
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        bail hearings were it not for their enhanced access to pretrial release—is not
        directly testable. Moreover, because the absolute difference in detention rates
        across the Tuesday, Wednesday, and Thursday groups is relatively modest—
        about 4 percentage points—to the extent that there are remaining uncon-
        trolled, unobserved differences across the groups, even small ones, such
        differences could be the true causal source of what appear to be detention
        effects. Additionally, although the natural experiment does deliver statistically
        significant estimates, the confidence intervals on these estimates are much
        larger. This means that this approach allows us to make less definitive claims
        about the magnitude of the relationship between detention and outcomes.
        Thus, the results of this analysis are probably best interpreted as providing
        evidence that, after including a fairly rich set of controls, regression estimates
        approximate causal estimates of the effects of detention, and any remaining
        biases that may exist seem unlikely to fundamentally alter the conclusion that
        pretrial detention has significant adverse downstream consequences.

              C. Future Crime
             In addition to the impacts in the immediate case, pretrial detention carries
        the potential to affect later criminal activity. Given that a primary policy
        purpose of pretrial detention is to enhance public safety, such downstream
        effects—to the extent they exist—should be an important component of any
        bail assessment.133 Unfortunately, rigorous estimates of the downstream crime
        effects of pretrial detention are relatively uncommon in the existing empirical
        work on bail. This Subpart presents new estimates of the impact of
        misdemeanor detention on future crime in Harris County.
             Downstream crime effects might occur through several mechanisms. Some
        of these mechanisms would reduce future offending. Most directly, pretrial
        detention generates an incapacitation effect over the period of pretrial custody.
        Thus, at least in the immediate period following arrest, detainees should
        commit fewer crimes than similarly situated releasees simply due to the fact
        that they are in custody. Second, the experience of being detained might change
        offender perceptions of the disutility of confinement. To the extent offenders
        discover that confinement is worse than expected, this could enhance the
        deterrent effect of criminal law. This mechanism seems more likely to operate
        for first-time offenders or those with relatively little prior experience with
        confinement. Lastly, if pretrial detention increases the conviction rate (as the
        prior analysis suggests) and a prior conviction increases the possible sanctions
        for additional crime, pretrial detention may augment the expected sanction
        following a new crime, which would also enhance deterrence.

         133. For a discussion of the constitutional dimensions of this point, see Part IV below.


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             Other mechanisms would increase future offending (or arrests). If deten-
        tion teaches offenders that confinement is less unpleasant than anticipated, it
        could reduce deterrence. Detention may also lead to job loss, disrupted
        interpersonal relationships, or other collateral consequences that change the
        relative attractiveness of crime in the future.134 To take a simple example: if a
        detained defendant loses her job, acquisitive criminal activities such as larceny
        or robbery might become comparatively more attractive as a means of making
        up for lost income. Pretrial detainees may also make new social ties or learn
        new skills through their interactions with other jail inmates that change their
        propensity for crime.135 Detention could also paradoxically lower expected
        sanctions for future crime if detention leads defendants to substitute custodial
        sentences for probation, because those on probation would face a supervision
        period where additional crime would trigger punishment for not only the new
        but also the prior offense. Finally, pretrial detention might alter the probability
        that future behavior is labeled by the criminal justice system as worthy of
        sanction. For instance, imagine that Defendant A is detained pretrial and then
        pleads guilty, while similar Defendant B is released, enrolls in a treatment
        program, and ultimately has the charge dismissed. Both are arrested in the
        future on allegations that the prosecutor views as presenting a marginal case.
        The prosecutor pursues charges against Defendant A because he has a prior
        conviction but not against Defendant B, who does not.
             Given that these various potential mechanisms cut in opposite directions,
        it is not apparent on a theoretical level whether pretrial detention should
        increase or decrease future crime. This is thus an empirical question of
        considerable import. To measure recidivism, new charges for each defendant
        filed during the eighteen months following his or her initial misdemeanor bail
        hearing were examined. Future crime was measured relative to the date the bail
        hearing occurred rather than the date the case ended because released
        defendants’ cases take considerably longer to clear than those of detained
        defendants.136 Waiting until a case is resolved to start the clock would compare

         134. See supra note 12 and accompanying text (discussing the collateral consequences of
             detention).
         135. See, e.g., Patrick Bayer et al., Building Criminal Capital Behind Bars: Peer Effects in Juvenile
              Corrections, 124 Q.J. ECON. 105, 108 (2009); Megan Stevenson, Breaking Bad: Mecha-
              nisms of Social Influence and the Path to Criminality in Juvenile Jails 3 (Oct. 12, 2015)
              (unpublished manuscript), http://ssrn.com/abstract=2627394 (presenting evidence of
              peer effects in juvenile incarceration facilities).
         136. Unsurprisingly, the cases of defendants in detention tend to resolve much more
              quickly. For detained defendants, the median time to first judgment is 3 days, and 80%
              of defendants have their cases resolved within 18 days. For those who make bond, the
              median time to first judgment is 125 days. These large disparities are also apparent
              among defendants charged with the same offense. (These statistics are from the
              Authors’ own calculations.)


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        released defendants months or in some cases even years after their initial arrest
        to detained defendants in the days and weeks after their arrest. The recidivism
        analysis was conducted using conventional regression modeling and continues
        to adjust for offense, defendant demographics, prior criminal record, zip code
        of residence, indigence, public defender representation, and time and court of
        adjudication.137 Misdemeanor and felony charges were considered separately,
        and charges were measured cumulatively.
             An important feature of this analysis is that, as before in the preferred
        specification, it fully controls for the bail amount assessed at the bail hearing.
        This means it compares detained defendants to similarly situated released
        defendants who were assigned the same bail. As a general matter, one might
        expect higher recidivism among those who are detained relative to those who
        are released simply as a result of the correct operation of the bail process. In
        particular, if the government is correctly assessing defendant risk, higher risk
        defendants (who will ultimately commit more crime) should be detained more
        often. This analysis, however, compares two defendants whom the bail process
        has determined to be of equal risk because their bail was set identically. Thus,
        the impacts documented here already net out any effects that might reflect the
        differential sorting of defendants through the bail system.
             Figure 6 below plots results from a series of regressions where the outcome
        is the number of new misdemeanors recorded between the bail hearing and
        some number of days post-hearing. The actual average number of offenses for
        the released population is depicted in the figure along with the adjusted rate for
        the detained population. This adjusted rate is calculated by estimating
        regressions similar to those in Specification 6 of Table 2 but with new offenses
        as the outcome and then adding the resultant estimate for the effect of pretrial
        detention to the actual offending rate for releasees. This, in essence, depicts
        what the expected misdemeanor offending rate would be for the detainees if
        they were similar in demographics, case characteristics, prior criminal history,
        and all other relevant characteristics to the released population. Figure 6
        includes bars denoting the 95% confidence intervals for the adjusted rates and
        shows impacts through the first thirty days post-hearing. The figure
        demonstrates a steady rise in the number of new charges for both groups over
        time. This increase over time is a direct consequence of the choice to define the
        outcome as the cumulative number of new charges. For the first nineteen days
        after the bail hearing, the incidence of misdemeanors for detainees is below
        that of releasees, which likely reflects criminal incapacitation from being in

         137. We explored applying the natural experiment to recidivism outcomes, but the results,
             while not inconsistent with the results reported in this Article, were insufficiently
             precise to provide useful guidance. For example, the instrumental variables estimates
             implied that detention increases felonies committed as of eighteen months after the
             bail hearing by 15%, but the 95% confidence interval for this estimate was -59% to 219%.


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        jail. These differences are statistically significant through day thirteen. By day
        thirty, however, there is a statistically significantly higher incidence of
        misdemeanors among the detained population. Thus, despite the initial
        incapacitation, by one month after the hearing the average number of new
        charges for detainees has exceeded that of their similarly situated counterparts
        who were released. To the extent that the rich set of controls allows one to
        construe these differences as causal, they suggest that pretrial detention has a
        greater criminogenic than deterrent effect.
              Figure 7 below plots similar differences between releasees and detainees in
        misdemeanor crime but expands the time window to a full eighteen months
        after the bail hearing. Throughout this later period, the disparity between
        detainees and releasees remains statistically significant and practically large.
        Table A.1 in the Appendix below, which reports the numeric estimates
        underlying Figure 7, shows that the gap between detainees and those released
        stabilizes at about one year post-hearing and represents a roughly 22% increase
        in misdemeanor crime associated with detention.




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                                           Figure 6
          New Misdemeanor Charges by Pretrial Release Status During the First Thirty Days
                                    After the Bail Hearing
                                    0.025


                                    0.020
          New misdemeanor charges




                                    0.015
                                                                                         Released
                                    0.010                                                Detained


                                    0.005


                                    0.000
                                            0       10                     20                  30
                                                   Days since bail hearing




                                                           763
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                                                       Figure 7
                        New Misdemeanor Charges by Pretrial Release Status During the First Eighteen
                                            Months After the Bail Hearing
                                   0.35

                                    0.3
         New misdemeanor charges




                                   0.25

                                    0.2
                                                                                                   Released
                                   0.15
                                                                                                   Detained
                                    0.1

                                   0.05

                                     0
                                          0   60   120      180    240     300     360     420   480    540
                                                              Days since bail hearing



             Figure 8 below depicts similar estimates, this time focusing on felonies and
        considering the time window from 0 to 100 days post-hearing. For felony
        offending, incapacitation effects from detention appear somewhat longer
        lasting, with detainees overtaking releasees only after several months. By three
        months post-hearing, however, there is a statistically significant positive effect
        of detention on felony offending.
             Figure 9 below, which extends the analysis to a full eighteen months after
        the bail hearing, demonstrates continued heightened felony offending for those
        who are detained compared to similarly situated releasees. Table A.2 in the
        Appendix below, which reports the estimates used to construct Figures 8 and 9,
        demonstrates that the offending gap appears to stabilize toward the end of the
        sample period, with detainees committing nearly a third more felonies. By
        eighteen months after the conviction, a group of 100 detained defendants
        would be expected to have committed about four additional felonies as
        compared to an observationally similar group of 100 released defendants.




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                                              Figure 8
           New Felony Charges by Pretrial Release Status During the First One Hundred Days
                                       After the Bail Hearing

                               0.04




                               0.03
          New felony charges




                               0.02                                                      Released
                                                                                         Detained


                               0.01




                                 0
                                      0   20           40             60            80         100
                                                    Days since bail hearing




                                                          765
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                                                Figure 9
              New Felony Charges by Pretrial Release Status During the First Eighteen Months
                                         After the Bail Hearing

                                0.20


                                0.16
           New felony charges




                                0.12

                                                                                          Released
                                0.08                                                      Detained


                                0.04


                                0.00
                                       0   120            240            360        480         600
                                                       Days since bail hearing



             The notion that pretrial detention might actually increase future crime is
        consistent with recent research that suggests incarceration might itself be
        criminogenic. A paper by Michael Mueller-Smith, also set in Harris County,
        uses a research design that leverages random assignment to judges to estimate
        the causal effect of incarceration on future crime.138 He finds that incarceration
        for misdemeanor defendants—who are in jail for a median of ten days
        following the filing of charges—leads to a 6.0 percentage point increase in the
        likelihood of being charged with a new misdemeanor and a 6.7 percentage
        point increase in the likelihood of being charged with a new felony. 139 These

         138. Michael Mueller-Smith, The Criminal and Labor Market Impacts of Incarceration 2
             (Aug. 18, 2015) (unpublished manuscript), http://sites.lsa.umich.edu/mgms/wp
             -content/uploads/sites/283/2015/09/incar.pdf.
        139. Id. at 24-27 (showing that in the quarter during which the misdemeanor defendant was
             in jail—the average jail time being only a tiny fraction of the quarter—there is a 4.6%
             increase in new misdemeanor charges and a 6.4% increase in new felony charges).
             Added to these are the average quarterly increases in new misdemeanor and felony
             charges of 1.4% and 0.3%, respectively. Id. at 27 tbl.5.


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        estimates are not dissimilar to those presented here, although the timing of the
        effects is somewhat different. Mueller-Smith finds most of the effect within the
        first three months after charges are filed, while this Article finds a larger effect
        somewhat further out.140
             Stakeholders’ assessment of the cost of increased crime from pretrial
        detention may depend in part on whether the increase represents individuals
        shifting into offending who otherwise would have maintained a clean record
        or more intensive offending by individuals who would have accumulated
        charges in any case. To address this question, Table 8 below reports estimates
        from regressions analogous to those used to produce Figures 6-9 that use an
        indicator variable for whether a particular defendant had any future charges as
        the outcome variable of interest. These regressions assess whether some
        individuals who would not have been expected to offend later if released do so
        after being detained.
             Table 8 reveals that detention increases the share of defendants charged
        with new misdemeanors by 9.7% as of eighteen months post-hearing. Over the
        same period, the likelihood of any future felony charges increases by 32.2%.
        Comparing this eighteen-month estimate for felonies in Table 8 to the
        eighteen-month estimated effect on the total count of crimes reported in
        Table A.2 (30.9%) reveals that essentially all of the increase in felony offending
        can be explained by an increase in the number of individuals accumulating new
        felony charges. This suggests that detention has broad effects, shifting many
        defendants who would have avoided future criminal behavior (at least as
        captured by charges in Harris County) into further contact with the criminal
        justice system.




         140. See id. at 26; see also Anna Aizer & Joseph J. Doyle, Jr., Juvenile Incarceration, Human
             Capital, and Future Crime: Evidence from Randomly Assigned Judges, 130 Q.J. ECON. 759,
             763 (2015) (finding that incarceration has a criminogenic effect); Rafael Di Tella &
             Ernesto Schargrodsky, Criminal Recidivism After Prison and Electronic Monitoring 4 (Nat’l
             Bureau     of    Econ.      Research,      Working       Paper    No.   15602,     2009),
             http://www.nber.org/papers/w15602.pdf (finding the same). Other papers, however,
             concluded that incarceration is not in fact criminogenic. See, e.g., Charles E. Loeffler,
             Does Imprisonment Alter the Life Course?: Evidence on Crime and Employment from a Natural
             Experiment, 51 CRIMINOLOGY 137, 154 (2013).


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                                                   Table 8
                         Effects of Pretrial Detention on Likelihood of Reoffending

                                                  Fraction of
                                                   Released           Estimated
                             Follow-Up           Defendants            Effect of
                             Time Since           with New              Pretrial          Percent
         Crime Type         Bail Hearing           Charges            Detention          Increase
         Misdemeanor        Thirty days         0.018               0.0024**            13.7
                                                                    (0.0006)
                            One year            0.152               0.0146**            9.6
                                                                    (0.0015)
                            Eighteen            0.193               0.0186**            9.7
                            months                                  (0.0017)
         Felony             Thirty days         0.009               -0.0013**           -15.1
                                                                    (0.0004)
                            One year            0.066               0.0209**            31.5
                                                                    (0.0012)
                            Eighteen            0.088               0.0285**            32.2
                            months                                  (0.0013)
            This table reports coefficients from regressions measuring the effect of pretrial
            detention on the likelihood defendants are charged with new crimes at various
            follow-up periods post-bail hearing. Controls are as in Specification 6 of Table 2.
            Each reported estimated effect is from a unique regression. The sample size is
            352,573. * indicates that the estimate is statistically significant at the 0.05 level.
            ** indicates that the estimate is statistically significant at the 0.01 level. Standard
            errors are reported in parentheses.



             These differences in recidivism are important from a policy perspective.
        To the extent the estimates identified in this Article can be construed as causal,
        they suggest that a representative group of 10,000 misdemeanor offenders who
        are released pretrial would accumulate 2800 new misdemeanor charges and
        roughly 1300 new felony charges in Harris County in the eighteen months
        after their release. If this same group were instead detained, they would
        accumulate 3400 new misdemeanors and 1700 felonies over the same time
        period—an increase of 600 misdemeanors and 400 felonies. While pretrial
        detention clearly exerts a protective effect in the short run, for misdemeanor
        defendants it may ultimately serve to compromise public safety.



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        IV. Constitutional Implications
             The results reported here are relevant to an array of constitutional
        questions. As the Supreme Court has affirmed, “[i]n our society liberty is the
        norm, and detention prior to trial or without trial is the carefully limited
        exception.”141 Whether or not that remains true as a descriptive matter, it
        remains the aspiration of the law. The constitutional principles that serve to
        safeguard pretrial liberty include the Sixth Amendment right to counsel, 142 the
        Eighth Amendment prohibition on excessive bail,143 due process,144 and equal
        protection.145 The effects of pretrial detention should inform constitutional
        analysis in each of these arenas.146
             This Article is limited, of course, to a particular dataset. It does not support
        generalization about the downstream effects of pretrial detention in all times
        and places and for all people. But it adds further evidence to the body of
        literature finding that pretrial detention causally affects conviction and future
        crime rates. This Part synthesizes the constitutional implications of such
        effects in Harris County and wherever else they might exist.

              A. Equal Protection/Due Process: Does Pretrial Detention Produce Class-
                 Based Case Outcomes?
           To begin with, the Harris County data and results illustrate the extent to
        which the Harris County pretrial system produces disparate outcomes for the
        poor and the wealthy. The principle of equal protection (as applied to the states


         141. United States v. Salerno, 481 U.S. 739, 755 (1987).
         142. Id. amend. VI (“In all criminal prosecutions, the accused shall enjoy the right to a speedy
              and public trial, . . . and to be informed of the nature and cause of the accusation . . . , and
              to have the Assistance of Counsel for his defence.”).
         143. Id. amend. VIII (“Excessive bail shall not be required . . . .”).
         144. Id. amend. V (“No person shall . . . be deprived of life, liberty, or property, without due
              process of law . . . .”); id. amend. XIV, § 1 (“[N]or shall any State deprive any person of
              life, liberty, or property, without due process of law . . . .”).
         145. Id. amend. XIV, § 1 (“[N]or shall any State . . . deny to any person within its jurisdiction
              the equal protection of the laws.”); Bolling v. Sharpe, 347 U.S. 497, 499 (1954) (reading
              the equal protection principle into the Fifth Amendment Due Process Clause).
         146. The Fourth Amendment also protects pretrial liberty. See U.S. CONST. amend. IV (“The
              right of the people to be secure in their persons, houses, papers, and effects, against
              unreasonable searches and seizures, shall not be violated, and no Warrants shall issue,
              but upon probable cause, supported by Oath or affirmation, and particularly describing
              the place to be searched, and the persons or things to be seized.”); see also Gerstein v.
              Pugh, 420 U.S. 103, 125 n.27 (1975) (“The Fourth Amendment was tailored explicitly for
              the criminal justice system, and its balance between individual and public interests
              always has been thought to define the ‘process that is due’ for seizures of person or
              property in criminal cases, including the detention of suspects pending trial.”).


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        by the Fourteenth Amendment147 and to the federal government by the Fifth
        Amendment, as a component of due process 148) prohibits invidious or
        irrational state discrimination.149 As a general matter, a claimant must show
        intentional or facial discrimination in order to prevail on an equal protection
        claim.150 When a person’s liberty is at stake, however, the Supreme Court has
        held that conditioning liberty on payment of an amount she cannot afford
        violates due process and equal protection.151 More precisely, the Court has
        prohibited detention for inability to pay a monetary amount unless there are
        no other means that can meet the state’s interests. 152
             Bail schedules have recently drawn criticism—and litigation—for condi-
        tioning liberty on a fixed monetary amount. Since 2015, a nonprofit
        organization called Equal Justice Under Law has challenged the use of money
        bail schedules in ten jurisdictions on the ground that such schedules, if
        implemented without consideration of defendants’ financial status, violate the
        Equal Protection and Due Process Clauses.153 The organization has filed one
        such lawsuit in Harris County.154 As of this writing, the Department of Justice

         147. U.S. CONST. amend. XIV, § 1 (“No State shall . . . deny to any person within its
             jurisdiction the equal protection of the laws.”).
         148. Id. amend. V (“No person shall . . . be deprived of life, liberty, or property, without due
              process of law . . . .”).
         149. See, e.g., City of Cleburne v. Cleburne Living Ctr., Inc., 473 U.S. 432, 439 (1985) (“The
              Equal Protection Clause of the Fourteenth Amendment commands that no State shall
              ‘deny to any person within its jurisdiction the equal protection of the laws,’ which is
              essentially a direction that all persons similarly situated should be treated alike.”
              (quoting U.S. CONST. amend. XIV, § 1)); Bolling, 347 U.S. at 499 (noting that the Fifth
              Amendment due process principle includes the same prohibition vis-à-vis the federal
              government).
         150. See, e.g., Washington v. Davis, 426 U.S. 229, 240-42 (1976) (explaining “the basic equal
              protection principle that the invidious quality of a law claimed to be racially discrimi-
              natory must ultimately be traced to a racially discriminatory purpose”).
         151. See, e.g., Bearden v. Georgia, 461 U.S. 660, 667 (1983) (“The rule of Williams and Tate,
              then, is that the State cannot ‘impos[e] a fine as a sentence and then automatically
              conver[t] it into a jail term solely because the defendant is indigent and cannot
              forthwith pay the fine in full.’” (alterations in original) (quoting Tate v. Short, 401 U.S.
              395, 398 (1971))); id. at 672-73 (holding that to “deprive the probationer of his condition-
              al freedom simply because, through no fault of his own, he cannot pay the fine . . .
              would be contrary to the fundamental fairness required by the Fourteenth Amend-
              ment”); see also Statement of Interest of the United States at 1, Varden v. City of
              Clanton, No. 2:15-cv-34-MHT-WC (M.D. Ala. Feb. 13, 2015) (“Incarcerating individuals
              solely because of their inability to pay for their release . . . violates the Equal Protection
              Clause of the Fourteenth Amendment.” (citing Tate, 401 U.S. at 398; Williams v. Illinois,
              399 U.S. 235, 240-41 (1970); and Smith v. Bennett, 365 U.S. 708, 709 (1961))).
         152. Bearden, 461 U.S. at 674.
         153. See Ending the American Money Bail System, supra note 21.
         154. See First Amended Class Action Complaint, supra note 78 (challenging the Harris
              County bail schedule on due process and equal protection grounds).


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        has submitted a statement of interest in one of the bail schedule lawsuits 155 and
        an amicus brief in another, asserting that “bail practices that incarcerate
        indigent individuals before trial solely because of their inability to pay for their
        release violate[] the Fourteenth Amendment.” 156 It also issued a Dear Colleague
        Letter to state and local courts, making the same point.157
             The data and results reported here do not directly demonstrate whether
        Harris County’s misdemeanor bail practices result in detention for poverty
        alone. They do show that more than half the misdemeanor defendants with
        bail set were nonetheless detained pending trial.158 The average bail amount
        for these detainees was $2786.159 It is possible that some number of these people
        choose not to post the bail but unlikely that many do. The more likely
        explanation is that they simply do not have the money. The analysis of
        detention rates by zip code, furthermore, suggests that wealth is an important
        determinant of who is detained pending trial.160
             This Article’s results provide stronger evidence that any wealth-based
        inequality in pretrial detention translates into wealth-based inequality in case
        outcomes. In this dataset, detention increases the likelihood of pleading guilty
        by 25% for no reason relevant to guilt.161 In other words, the results suggest
        that approximately 17% of the detained misdemeanor defendants in the Harris
        County dataset who pleaded guilty would not have been convicted at all had
        they been released pretrial. They pleaded guilty because they were detained.
             While there are several possible explanations for this detention effect, it is
        likely that detention obligates many defendants to serve more time than the
        likely sentence prior to adjudication. If a guilty plea for “time served” or a
        noncustodial sentence is an option, many a detained person will take it; the
        costs of staying in jail to fight a charge are simply overwhelming. 162 More

         155. Statement of Interest of the United States, supra note 151.
         156. Brief for the United States as Amicus Curiae Supporting Plaintiff-Appellee & Urging
              Affirmance of the Issue Addressed Herein at 3, Walker v. City of Calhoun, No. 16-
              10521-HH (11th Cir. Aug. 18, 2016).
         157. Letter from Vanita Gupta, Principal Deputy Assistant Att’y Gen., Civil Rights Div.,
              U.S. Dep’t of Justice, and Lisa Foster, Dir., Office for Access to Justice, U.S. Dep’t of
              Justice, to Colleague 7 (Mar. 14, 2016), https://www.justice.gov/crt/file/832461/
              download (“[A]ny bail practices that result in incarceration based on poverty violate
              the Fourteenth Amendment.”).
         158. Supra Table 1.
         159. Supra Table 1.
         160. See supra Part II.D.
         161. See supra Table 3.
         162. See, e.g., Curry v. Yachera, No. 15-1692, 2016 WL 4547188, at *3 (3d Cir. Sept. 1, 2016)
              (“Unable to post his bail, Curry was sent to jail and waited there for months for his case
              to proceed. While imprisoned, he missed the birth of his only child, lost his job, and
              feared losing his home and vehicle. Ultimately, he pled nolo contendere in order to
                                                                           footnote continued on next page
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        broadly, the results suggest that the outcome of a bail hearing can profoundly
        impair the accused’s ability to contest the charges against him. 163
             There is now a nationwide movement to make the pretrial system fairer
        by shifting from the money bail model to a “risk-based” model driven by
        actuarial assessment of a defendant’s risk of flight and rearrest.164 It is
        important to note that this shift will not eliminate inequality. Actuarial risk
        assessment will import the effects of race and class disparities earlier in the
        system.165 Without violating the Equal Protection Clause, risk assessment may
        still result in the disproportionate pretrial detention of poor and minority
        communities.166 To the extent detention also changes case outcomes, this
        means that a risk-based system of pretrial detention could continue to dispense
        unequal justice. In view of the cost of detention—both its immediate fiscal and
        human costs and its downstream effects—policymakers should work to avoid
        this result.




              return home.”); Sixth Amendment Ctr. & Pretrial Justice Inst., Early Appointment of
              Counsel: The Law, Implementation, and Benefits 9 (2014), http://sixthamendment.org/
              6ac/6ACPJI_earlyappointmentofcounsel_032014.pdf (noting that “those who work in
              criminal justice systems” report that this happens frequently (citing Joel M. Schumm,
              Am. Bar Ass’n Standing Comm. on Legal Aid & Indigent Defendants, National Indigent
              Defense Reform: The Solution is Multifaceted 26 (2012), http://www.americanbar.org/
              content/dam/aba/publications/books/ls_sclaid_def_national_indigent_defense_
              reform.authcheckdam.pdf)).
         163. This is true of any of the potential mechanisms discussed above, see supra Part I.A,
              except if the detention effect results from the inability of detainees to obstruct justice.
              It seems unlikely, however, that misdemeanor defendants released pretrial routinely
              engage in obstructionist tactics.
         164. See, e.g., Pretrial Justice Inst., Resource-Based to Risk-Based Pretrial Justice, PREZI (Aug. 7,
              2015), https://prezi.com/h6eboff0oyhx/resource-based-to-risk-based-pretrial-justice.
         165. The most universal risk factors for future criminal behavior in current pretrial risk
              assessment tools are prior contacts with the criminal justice system. See Bernard E.
              Harcourt, Risk as a Proxy for Race: The Dangers of Risk Assessment, 27 FED. SENT’G REP.
              237, 238-40 (2015); Sandra G. Mayson, Dangerous Defendants 11 tbl.1, app. at 47
              (Aug. 10, 2016) (unpublished manuscript) (on file with authors).
         166. As a general matter, the equal protection principle only prohibits facial (explicit) and
              intentional discrimination, not disparate impact alone, Washington v. Davis, 426 U.S.
              229, 240-42 (1976), although the line of case law prohibiting incarceration for inability
              to pay a fine diverges from this framework, see supra note 151 and accompanying text.
              There is an argument that actuarial risk assessment is facially discriminatory if the
              variables used to predict risk include characteristics like race and income. See Sonja B.
              Starr, Evidence-Based Sentencing and the Scientific Rationalization of Discrimination, 66
              STAN. L. REV. 803, 811-12, 821-36 (2014).


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              B. Sixth Amendment Right to Counsel: Is Bail-Setting a “Critical Stage”?
             The results of this Article also suggest that bail-setting should be deemed a
        “critical stage” of criminal proceedings at which accused persons have the right
        to the effective assistance of counsel.167
             Despite arguments by scholars and advocates that accused persons should
        have the assistance of counsel at bail hearings,168 that has not been the practical
        or legal reality. Some jurisdictions provide counsel at bail hearings, but many
        do not.169 Federal statutory law does not guarantee the right to counsel at a bail
        hearing (although it prohibits federal courts from setting money bail that
        results in pretrial detention, and it requires an adversarial hearing at which the
        accused has the right to representation before a court can order the person
        detained).170 A 2008-2009 survey of state practice found that only ten states
        uniformly provided counsel at an accused’s first appearance.171 Ten states


         167. Rothgery v. Gillespie County, 554 U.S. 191, 212 (2008).
         168. See, e.g., Alexander Bunin, The Constitutional Right to Counsel at Bail Hearings, CRIM.
              JUST., Spring 2016, at 23, 47 (“[L]awyers are necessary at initial bail hearings.”); Douglas
              L. Colbert, Coming Soon to a Court Near You—Convicting the Unrepresented at the Bail
              Stage: An Autopsy of a State High Court’s Sua Sponte Rejection of Indigent Defendants’ Right
              to Counsel, 36 SETON HALL L. REV. 653, 654-55 (2006) (“[T]he pretrial release or bail
              determination hearing should be considered a ‘critical stage’ of a criminal prosecution,
              triggering the Sixth and Fourteenth Amendments’ right to counsel.” (footnotes
              omitted)); Douglas L. Colbert et al., Do Attorneys Really Matter?: The Empirical and Legal
              Case for the Right of Counsel at Bail, 23 CARDOZO L. REV. 1719, 1763-83 (2002) [hereinafter
              Colbert et al., Do Attorneys Really Matter?] (demonstrating that defense representation
              significantly improves defendants’ bail hearing outcomes and arguing for provision of
              such representation); Douglas L. Colbert, Prosecution Without Representation, 59 BUFF. L.
              REV. 333, 335 (2011) [hereinafter Colbert, Prosecution Without Representation] (urging the
              criminal and human rights law bars to encourage the Supreme Court to articulate a
              constitutional right to counsel at bail hearings); Douglas L. Colbert, Thirty-Five Years
              After Gideon: The Illusory Right to Counsel at Bail Proceedings, 1998 U. ILL. L. REV. 1, 7
              [hereinafter Colbert, Thirty-Five Years After Gideon] (exploring “the constitutional basis
              for extending an accused’s right to counsel to bail [hearings]”); Gerstein, supra note 19,
              at 1516 (arguing that, because the outcome of a bail hearing “can prejudice the outcome
              of a plea negotiation,” defendants have the right to counsel at bail hearings); Constitu-
              tion Project Nat’l Right to Counsel Comm., Don’t I Need a Lawyer?: Pretrial Justice and
              the     Right     to     Counsel        at  First    Judicial   Bail     Hearing      (2015),
              http://www.constitutionproject.org/wp-content/uploads/2015/03/RTC-DINAL_3.18.
              15.pdf (laying out constitutional and practical arguments for providing counsel at bail
              hearings); Sixth Amendment Ctr. & Pretrial Justice Inst., supra note 162 (explaining the
              ambiguity of relevant constitutional law but urging jurisdictions to provide counsel at
              bail hearings and describing how some have done so).
         169. E.g., Colbert et al., Do Attorneys Really Matter?, supra note 168, at 1719 (“Most states do
              not consider the right to counsel to apply until a later stage of a criminal proceeding—
              days, weeks or months after the pretrial release determination.”).
         170. See 18 U.S.C. § 3142(c)(2), (f) (2015).
         171. Colbert, Prosecution Without Representation, supra note 168, at 389.


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        uniformly provided no counsel.172 The remaining thirty provided appointed
        counsel “in select counties only.”173
             It remains an open question of constitutional law, meanwhile, whether the
        Sixth Amendment right to counsel extends to bail hearings. The Sixth
        Amendment provides that “[i]n all criminal prosecutions, the accused shall
        enjoy the right . . . to have the Assistance of Counsel for his defence.” 174 The
        Supreme Court has held the right to include the “effective” assistance of counsel
        with respect to any charge that may carry a sentence of incarceration and the
        right to an appointed attorney if the accused cannot afford to hire one. 175 As a
        temporal matter, the right “attaches” at “the first appearance before a judicial
        officer at which a defendant is told of the formal accusation against him and
        restrictions are imposed on his liberty.”176 This is the nature of most bail
        hearings. But to say that the right attaches is not to say that counsel need be
        present. Rather, once the right attaches, “counsel must be appointed within a
        reasonable time . . . to allow for adequate representation at any critical stage
        before trial, as well as at trial itself.”177
             The open question is whether the bail hearing is itself a “critical stage.”178
        Unfortunately, the term has no precise definition.179 The Court has offered
        many formulations. It most recently described critical stages as those

         172. Id. at 395-96.
         173. Id. at 345, 400. But see Rothgery v. Gillespie County, 554 U.S. 191, 203-04 (2008) (“We are
              advised without contradiction that not only the Federal Government, including the
              District of Columbia, but 43 States take the first step toward appointing counsel
              ‘before, at, or just after initial appearance.’” (quoting Brief of Amicus Curiae the
              National Ass’n of Criminal Defense Lawyers in Support of Petitioner app. at 1a,
              Rothgery, 554 U.S. 191 (No. 07-440))).
         174. U.S. CONST. amend. VI; see also Gideon v. Wainwright, 372 U.S. 335, 344 (1963) (“The
              right of one charged with crime to counsel may not be deemed fundamental and
              essential to fair trials in some countries, but it is in ours.”).
         175. McMann v. Richardson, 397 U.S. 759, 771 n.14 (1970) (“It has long been recognized that
              the right to counsel is the right to the effective assistance of counsel.”); see also
              Strickland v. Washington, 466 U.S. 668, 687 (1984) (articulating the test for an
              ineffective assistance claim); Argersinger v. Hamlin, 407 U.S. 25, 37 (1972) (holding that
              “absent a knowing and intelligent waiver, no person may be imprisoned for any
              offense . . . unless he was represented by counsel at his trial”); Gideon, 372 U.S. at 342-45
              (incorporating the right to counsel, including appointed counsel for indigent persons,
              against the states).
         176. Rothgery, 554 U.S. at 194, 199.
         177. Id. at 212.
         178. The Rothgery majority stopped short of deciding it. Id. at 212 n.15 (emphasizing that the
              Court was not deciding “the scope of an individual’s post-attachment right to the
              presence of counsel”).
         179. See Van v. Jones, 475 F.3d 292, 312 (6th Cir. 2007) (noting that “[o]ne would welcome a
              comprehensive and final one-line definition of ‘critical stage’” and providing a survey
              of varying Supreme Court formulations).


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        “proceedings between an individual and agents of the State . . . that amount to
        ‘trial-like confrontations,’ at which counsel would help the accused ‘in coping
        with legal problems or . . . meeting his adversary.’”180 It has also stated that
        “those pretrial procedures that would impair defense on the merits if the
        accused is required to proceed without counsel” constitute critical stages. 181
        The Court has classified arraignments,182 preliminary hearings,183 pretrial
        lineups,184 deliberate attempts to elicit incriminating information from an
        accused,185 efforts to elicit consent to a psychiatric interview,186 and plea
        bargaining187 as critical stages.
             Some of this case law supports the argument that a bail hearing is a critical
        stage. In Coleman v. Alabama, a plurality of the Court concluded that an
        Alabama preliminary hearing was a critical stage for reasons that could also
        apply to bail hearings. It reasoned that, at a preliminary hearing, an effective
        defense lawyer could (1) “expose fatal weaknesses in the State’s case that may
        lead the magistrate to refuse to bind the accused over,” (2) examine witnesses so
        as to “fashion a vital impeachment tool” for trial “or preserve testimony
        favorable to the accused,” (3) “discover the case the State has against his client
        and make possible the preparation of a proper defense,” and (4) make “effective
        arguments for the accused on such matters as the necessity for an early
        psychiatric examination or bail.”188 Three of these four reasons arguably apply
        to bail hearings as well. At a bail hearing, defense counsel can expose fatal
        weaknesses in the state’s case, learn about the allegations in order to prepare “a
        proper defense,” and make “effective arguments” for an early psychiatric
        examination or release. The only opportunity that defense counsel has at a
        preliminary hearing but not at a bail hearing is to examine witnesses.
             On the other hand, Gerstein v. Pugh presents an obstacle to the argument
        that the bail hearing is a critical stage. Gerstein concerned a postarrest probable
        cause determination, which would also allow defense counsel—if she were
        present—to point out fatal flaws in the case, learn about the allegations in order
        to prepare an effective defense, and make arguments for release. In Gerstein,

         180. Rothgery, 554 U.S. at 212 n.16 (second alteration in original) (quoting United States v.
              Ash, 413 U.S. 300, 312-13 (1973)).
         181. Gerstein v. Pugh, 420 U.S. 103, 122 (1975).
         182. Hamilton v. Alabama, 368 U.S. 52, 54-55 (1961).
         183. Coleman v. Alabama, 399 U.S. 1, 9-10 (1970) (plurality opinion); White v. Maryland, 373
              U.S. 59, 60 (1963) (per curiam).
         184. United States v. Wade, 388 U.S. 218, 236-37 (1967).
         185. Massiah v. United States, 377 U.S. 201, 204-06 (1964).
         186. Estelle v. Smith, 451 U.S. 454, 470-71 (1981).
         187. Lafler v. Cooper, 132 S. Ct. 1376, 1385-86, 1388 (2012).
         188. Coleman, 399 U.S. at 9 (plurality opinion).


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        however, the Court held that a postarrest probable cause determination is not a
        critical stage.189 It reasoned that a postarrest probable cause determination “is
        addressed only to pretrial custody.”190 The Court acknowledged that “pretrial
        custody may affect to some extent the defendant’s ability to assist in
        preparation of his defense” but concluded that “this does not present the high
        probability of substantial harm identified as controlling in Wade and
        Coleman.”191
             This Article suggests that the Court’s assumption about the limited effect
        of pretrial custody was incorrect. As noted above, pretrial custody does present
        a high probability of substantial harm, at least for Harris County misdemeanor
        defendants.192 The rise of plea bargaining has only enhanced the importance of
        the bail hearing. As the Supreme Court has recognized, “[i]n today’s criminal
        justice system, . . . the negotiation of a plea bargain, rather than the unfolding of
        a trial, is almost always the critical point for a defendant.”193 And pretrial
        detention puts defendants at a profound disadvantage in plea negotiations vis-
        à-vis the position they would be in if negotiating from freedom. The
        disadvantage is not just theoretical; the results reported here suggest that
        approximately 17% of the detained misdemeanor defendants who pleaded
        guilty would not have been convicted at all but for their detention. For these
        defendants, the bail hearing was the critical stage of criminal proceedings.194
             Finally, there is reason to think that representation at bail hearings can
        reduce the likelihood of detention, and thus of conviction, for this subset of
        defendants.195 As a matter of logic, defense counsel should be able to advocate
        for release by providing the judicial officer charged with pretrial custody
        determinations with a fuller picture of the accused’s financial resources,
        connections to the community, and, if necessary, appropriate conditions of
        release.196 Empirical data bear that logic out. In the mid-1980s, a controlled

         189. Gerstein v. Pugh, 420 U.S. 103, 122 (1975).
         190. Id. at 123. The Court also noted that a probable cause determination does not involve
              witness testimony, id., but given that the Court has recognized plea bargaining as a
              critical stage, see Lafler, 132 S. Ct. at 1385, this cannot be determinative.
         191. Gerstein, 420 U.S. at 123.
         192. But see State v. Williams, 210 S.E.2d 298, 300 (S.C. 1974) (“There is no showing in this
              record, nor does appellant contend, that anything occurred at the bail hearing which in
              any way affected or prejudiced his subsequent trial or that was likely to do so.”).
         193. Missouri v. Frye, 132 S. Ct. 1399, 1407 (2012).
         194. See Gerstein, supra note 19, at 1516 (laying out the argument that “a bail hearing is a
              critical stage because it can prejudice the outcome of a plea negotiation”).
         195. Cf. Colbert, Thirty-Five Years After Gideon, supra note 168, at 37 (noting that “a showing
              that counsel’s absence at the bail hearing prejudiced the accused’s fair trial rights”
              would provide grounds for finding that bail-setting is a critical stage).
         196. See, e.g., Constitution Project Nat’l Right to Counsel Comm., supra note 168, at 30-32
              (explaining the opportunity for such advocacy).


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        experiment funded by the National Institute of Justice found that defendants
        who had public defenders assigned before the bail hearing spent significantly
        less time in pretrial detention.197 In the 1990s, Douglas Colbert, Ray
        Paternoster, and Shawn Bushway ran a similar experiment in Baltimore,
        randomly assigning student lawyers to represent a treatment group of
        defendants for purposes of bail.198 The assignment of student lawyers to bail
        hearings increased the pretrial release rate by 15 percentage points.199 Given
        the evidence that pretrial release has a significant effect on case outcomes, it is
        difficult to maintain that the bail hearing is not a critical stage.200

              C. Eighth Amendment: When Is Bail or Detention “Excessive”?

                   1.   Cash bail
            The raw data from Harris County suggest that Harris County bail officers
        may be regularly setting bail that violates the Eighth Amendment prohibition
        on “excessive bail.”201
            The Eighth Amendment requires that a bail determination be individual-
        ized. In Stack v. Boyle, the Supreme Court held that “the fixing of bail for any
        individual defendant must be based upon standards relevant to the purpose of
        assuring the presence of that defendant,” including “the nature and circum-
        stances of the offense charged, the weight of the evidence against him, the
        financial ability of the defendant to give bail and the character of the
        defendant.”202 Bail set higher than an amount “reasonably calculated” to assure
         197. ERNEST J. FAZIO, JR. ET AL., NAT’L INST. OF JUSTICE, U.S. DEP’T OF JUSTICE, NCJ 97595,
              EARLY REPRESENTATION BY DEFENSE COUNSEL FIELD TEST: FINAL EVALUATION REPORT
              208, 211 (1985), http://www.ncjrs.gov/pdffiles1/Digitization/97595NCJRS.pdf.
         198. Colbert et al., Do Attorneys Really Matter?, supra note 168, at 1720 (explaining that the
              study generated “convincing empirical data that the benefits of representation are
              measurable and that representation is crucial to the outcome of a pretrial release
              hearing”); id. at 1728-31 (describing the appointment of student lawyers); id. at 1746-47
              (describing the experiment’s randomization).
         199. Id. at 1728-31, 1757; see also id. at 1720 (reporting that “more than two and one half times
              as many represented defendants were released on recognizance from pretrial custody
              as were unrepresented defendants” and that “two and one half times as many represent-
              ed defendants had their bail reduced to an affordable amount”).
         200. See, e.g., Hurrell-Harring v. State, 930 N.E.2d 217, 223 (N.Y. 2010) (“There is no question
              that ‘a bail hearing is a critical stage of the State’s criminal process . . . .’” (quoting
              Higazy v. Templeton, 505 F.3d 161, 172 (2d Cir. 2007))); cf. Gonzalez v. Comm’r of Corr.,
              68 A.3d 624, 637 (Conn. 2013) (“[T]he petitioner had a sixth amendment right to
              effective assistance of counsel at the arraignment stage in which proceedings pertain-
              ing to the setting of bond and credit for presentence confinement occurred . . . .”).
         201. U.S. CONST. amend. VIII (“Excessive bail shall not be required . . . .”).
         202. Stack v. Boyle, 342 U.S. 1, 5 & n.3 (1951) (emphasis added) (quoting FED. R. CRIM. P. 46(c)
              (amended 1966)).


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        the presence of a particular defendant “is ‘excessive’ under the Eighth
        Amendment.”203
             The Supreme Court arguably expanded the permissible purposes of money
        bail in United States v. Salerno,204 but it did not alter the Stack rule that the
        excessiveness inquiry is a particularized one. Salerno held that, in some
        circumstances, the state may constitutionally deny bail altogether on the
        grounds of a defendant’s dangerousness.205 Many lower courts have interpreted
        Salerno to authorize consideration of a defendant’s dangerousness in setting
        money bail.206 That interpretation is questionable but prevalent. 207 Texas,
        moreover, has maintained a conception of bail focused on ensuring appearance;
        it defines bail as “the security given by the accused that he will appear and
        answer before the proper court the accusation brought against him.”208
             Whatever the permissible purposes of money bail, the important point is
        that bail is an incentive mechanism, and the Excessive Bail Clause requires that
        it be calibrated to the particular circumstances of each case. Bail set higher than
        necessary to serve as a compelling incentive for a particular individual violates
        the Excessive Bail Clause.209 And what constitutes a compelling incentive will
        vary. For a multimillionaire charged with murder, even hefty bail might be
        inadequate.210 For a poor person charged with a misdemeanor, $500 may be
        excessive.
             In Harris County, more than half of misdemeanor defendants with bail set
        are nonetheless detained pending trial. Their bail amounts appear to have been

         203. Id. at 5.
         204. 481 U.S. 739, 754 (1987) (“Nothing in the text of the Bail Clause limits permissible
              Government considerations solely to questions of flight.”).
         205. Id. at 752-55.
         206. See, e.g., Galen v. County of Los Angeles, 477 F.3d 652, 662 (9th Cir. 2007) (“We also
              reject Galen’s argument that flight risk is the only factor the Commissioner was
              allowed to consider in setting bail . . . . Salerno holds that these non-flight-related
              considerations are permissible . . . .”).
         207. Rather, Salerno authorized the state to pursue pretrial crime prevention “through
              regulation of pretrial release.” 481 U.S. at 753. Most obviously, this language authorizes
              the state to pursue pretrial crime prevention through regulation of who is released,
              which was the power at issue in Salerno. The Court’s language might or might not
              authorize the use of money bail as a mechanism to discourage crime.
         208. TEX. CODE CRIM. PROC. ANN. art. 17.01 (West 2015).
         209. See United States v. Arzberger, 592 F. Supp. 2d 590, 605-06 (S.D.N.Y. 2008) (“[I]f the
              Excessive Bail Clause has any meaning, it must preclude bail conditions that are
              (1) more onerous than necessary to satisfy legitimate governmental purposes and
              (2) result in deprivation of the defendant’s liberty.”).
         210. See Charles V. Bagli & Kevin Flynn, Durst Jumps Bail, and a Nationwide Dragnet Is on,
              N.Y. TIMES (Oct. 17, 2001), http://nyti.ms/2d7dKo4 (reporting that “New York real
              estate scion” Robert Durst fled a Texas homicide prosecution despite having posted
              $250,000 bail).


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        set according to a bail schedule. These facts suggest that their bail amounts do
        not reflect the individualized determination that the Eighth Amendment
        requires. To the extent that these bail amounts are greater than “reasonably
        calculated” to ensure the appearance of individual misdemeanor arrestees, they
        violate the Eighth Amendment.
             It is at least arguable, furthermore, that whenever money bail results in
        detention because a defendant cannot pay, it is per se excessive. The premise of
        money bail is that the prospect of some financial loss is a sufficient deterrent to
        prevent pretrial flight. Detention is not necessary. If the bail is unaffordable
        and therefore results in detention, it is not functioning as a deterrent at all. It is
        functioning as an indirect means of detention. The use of unaffordable bail to
        detain pretrial defendants was precisely the practice that the original Excessive
        Bail Clause was intended to prevent.211
             The counterargument is that, in some cases, an unaffordable bail amount is
        the only amount sufficient to create an adequate disincentive to flee. 212 But if
        that is so, the reality is that no bail can reasonably assure that particular
        defendant’s appearance. In that case, judges should explicitly order detention
        and explain the reason for doing so.213 Indeed, the Excessive Bail Clause
        arguably requires them to take this approach.214




         211. See Samuel Wiseman, Discrimination, Coercion, and the Bail Reform Act of 1984: The Loss of
              the Core Constitutional Protections of the Excessive Bail Clause, 36 FORDHAM URB. L.J. 121,
              127 (2008).
         212. See, e.g., United States v. McConnell, 842 F.2d 105, 110 (5th Cir. 1988) (rejecting the
              claim that unaffordable bail violated the Eighth Amendment on the basis that “[t]he
              court has found that only a substantial financial component will yield a reasonable
              assurance of McConnell’s appearance”); White v. United States, 330 F.2d 811, 814 (8th
              Cir. 1964) (“The purpose for bail cannot in all instances be served by only accommodat-
              ing the defendant’s pocketbook and his desire to be free pending possible conviction.”).
         213. Cf. Hairston v. United States, 343 F.2d 313, 316 (D.C. Cir. 1965) (Bazelon, C.J., dissenting)
              (“It may be that [by setting unaffordable bail] the District Court intended to deny bail
              because there was no adequate assurance of appellant’s presence . . . . If so, it should have
              specified the reason. To deny the reality of bail while maintaining the fiction, perverts
              and distorts the administration of bail.”).
         214. See Carlisle v. Landon, 73 S. Ct. 1179, 1182 (1953) (opinion of Douglas, J.) (interpreting
              the Excessive Bail Clause to mean “that a person may not be capriciously held” and that
              “[t]here must be an informed reason for the detention”); cf. 18 U.S.C. § 3142(e) (2015)
              (“If . . . the judicial officer finds that no condition or combination of conditions will
              reasonably assure the appearance of the person as required . . . , such judicial officer
              shall order the detention of the person before trial.”). This is not possible in states that
              guarantee a right to bail, but the right to bail should be understood as a right to release.
              See Schnacke, supra note 24, at 63 (“[T]he right to bail should be read as a right to release
              through the bail process.”); id. at 21-36, 42, 51-56 (making historical and legal arguments
              for this conclusion).


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             Few courts have held that unaffordable money bail is excessive per se.
        Many lower courts have held that it is not. 215 The Supreme Court has not
        weighed in one way or the other beyond the case law cited in this Article. 216
        But federal statutory law and the American Bar Association’s Standards on
        Pretrial Release are consistent with the argument that unaffordable bail is
        excessive. Both prohibit the setting of money bail in an amount that results in
        detention.217 These authorities do not constitute constitutional law, but they
        reflect an understanding of the constitutional limits on money bail.

                   2.   Pretrial detention
            The results of this Article have implications for the question when pretrial
        detention itself (as distinct from a money bail amount) is unconstitutionally
        excessive. This question will become particularly topical as jurisdictions
        seeking to curtail the use of money bail adopt more explicit preventive
        detention regimes.218 In United States v. Salerno, the Supreme Court held that the
        Excessive Bail Clause does not entail an absolute right to bail—that is, it does
        not prohibit detention without bail in some circumstances. 219 The Court also
        endorsed public safety as a basis for ordering the pretrial detention of some
        defendants.220 But it suggested that the Excessive Bail Clause might require that
        “the Government’s proposed conditions of release or detention not be
        ‘excessive’ in light of the perceived evil” they are designed to address.221 To
        determine whether the intrusion on pretrial liberty is excessive, courts must


         215. E.g., McConnell, 842 F.2d at 107 (“[A] bail setting is not constitutionally excessive merely
              because a defendant is financially unable to satisfy the requirement.”); White v. Wilson,
              399 F.2d 596, 598 (9th Cir. 1968) (“The mere fact that petitioner may not have been able
              to pay the bail does not make it excessive.”); Byrd v. Mascara, No. 4D16-1424, 2016 WL
              3919078, at *1 (Fla. Dist. Ct. App. July 20, 2016) (per curiam) (“[A] defendant’s inability to
              post a certain amount of bond does not render that amount per se unreasonable.”).
         216. See Scott W. Howe, The Implications of Incorporating the Eighth Amendment Prohibition on
              Excessive Bail, 43 HOFSTRA L. REV. 1039, 1039 (2015) (“The Eighth Amendment
              prohibition on ‘excessive bail’ is perhaps the least developed of the criminal clauses in
              the Bill of Rights.” (quoting U.S. CONST. amend. VIII)).
         217. 18 U.S.C. § 3142(c)(2) (“The judicial officer may not impose a financial condition that
              results in the pretrial detention of the person.”); ABA STANDARDS: PRETRIAL RELEASE,
              supra note 36, § 10-1.4(e) (“The judicial officer should not impose a financial condition
              of release that results in the pretrial detention of a defendant solely due to the
              defendant’s inability to pay.”).
         218. See Mayson, supra note 165, at 7-8 (describing third-generation bail reform, which seeks
              to “shift[] the entire pretrial paradigm from a cash-based to a risk-based model”).
         219. 481 U.S. 739, 754-55 (1987).
         220. Id. at 755.
         221. Id. at 754.


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        “compare” it “against the interest the Government seeks to protect by means of
        that response.”222
             The analysis of Eighth Amendment “excessiveness” thus requires a kind of
        cost-benefit analysis. A court analyzing a claim that pretrial detention is
        unconstitutionally excessive must first determine the “perceived evil” that
        detention is designed to address—presumably a risk of flight or pretrial
        crime.223 It must then determine whether detention is “‘excessive’ in light of
        the perceived evil.”224 As a matter of logic, this requires an evaluation of
        whether the costs of detention are excessive in relation to risk (the likelihood
        that harm would occur without detention and the severity of that harm). That
        is, courts must determine whether the costs of detention to the detainee are
        excessive in relation to its benefit to the state. 225
             Pretrial detention has serious costs. In addition to the immediate costs to
        the detainee (loss of liberty and potential loss of employment, housing, et
        cetera), the results reported here demonstrate that detention can distort
        criminal adjudication.226 That is a significant cost, both to the people who
        would not have been convicted but for their detention and to the legitimacy of
        the system as a whole.227
             On the other side of the ledger, the benefit of detention lies in the number
        and severity of harms it prevents. If there is only a small risk that the
        defendant will abscond or commit a serious harm if released, then detention
        provides little benefit; it does not substantially promote the state’s interests.
        Furthermore, detention may increase future criminal offending.228 To the
        extent jurisdictions impose pretrial detention in order to prevent pretrial
        crime, its benefit—the crime averted—must be discounted by the increase in
        crime it produces. If it is not clear that the pretrial crime averted is worth the
        increase in future crime, detention might be an excessive response to the public
        safety threat. More generally, if the costs of detention vastly outweigh its
         222. Id.
         223. Id.
         224. Id.; see also Galen v. County of Los Angeles, 477 F.3d 652, 660 (9th Cir. 2007) (“To
              determine whether the Excessive Bail Clause has been violated, we look to the valid
              state interests bail is intended to serve for a particular individual and judge whether
              bail conditions are excessive for the purpose of achieving those interests.”).
         225. For a recent effort to engage in systemic cost-benefit analysis of pretrial detention, see
              Shima Baradaran Baughman, Costs of Pretrial Detention, 97 B.U. L. REV. 1 (2017).
         226. See supra Part III.A-B.
         227. To the extent the cost of detention to taxpayers is relevant to this analysis, that cost is
              also substantial. See Pretrial Justice Inst., Pretrial Justice: How Much Does It Cost? 2
              (2017), https://university.pretrial.org/viewdocument/pretrial-justice-how-much-does
              -it (estimating that pretrial detention costs taxpayers $38 million each day, which
              amounts to $14 billion annually).
         228. See supra Part III.C.


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        expected benefit in preventing flight or pretrial crime, a court should conclude
        that it is an excessive response to the risk the defendant presents. This is even
        clearer if less restrictive alternatives like GPS monitoring can provide similar
        benefit at less cost.229

              D. Substantive Due Process: Is Pretrial Detention Punishment? Does It
                 Impermissibly Infringe Liberty?

                   1.   Pretrial punishment
             Our results also support an argument that pretrial detention in some
        circumstances violates substantive due process by inflicting punishment before
        trial. “[U]nder the Due Process Clause, a detainee may not be punished prior to
        an adjudication of guilt in accordance with due process of law.”230 Pretrial
        detainees, that is, have the “right to be free from punishment.”231 The difficult
        question is when a restraint on liberty amounts to punishment.
             Pursuant to current doctrine, the answer turns on whether the restraint is
        rationally related to a nonpunitive purpose and not “excessive” for that
        purpose.232 Thus far, the Court has declined to classify any pretrial restraint as
        punishment. In Bell v. Wolfish, a challenge to certain conditions of pretrial
        confinement, the Court concluded that the conditions did not amount to
        punishment because they were rationally related to legitimate needs of the
        prison administration and not excessive for those ends.233 In Salerno, the Court
        rejected the argument that pretrial detention pursuant to the federal Bail
        Reform Act constituted punishment per se on the basis that the detention
        regime was carefully tailored to the “legitimate” goal of preventing danger to
        the community and the “incidents” of detention were not “excessive in relation

         229. See Samuel R. Wiseman, Pretrial Detention and the Right to Be Monitored, 123 YALE L.J.
              1344, 1384 (2014) (arguing that pretrial detention “is clearly excessive if monitoring
              could serve the state’s goals equally well (and equally efficiently)”).
         230. Bell v. Wolfish, 441 U.S. 520, 535 (1979). Note that this right against pretrial
              punishment is distinct from the presumption of innocence. See id. at 533 (stating that
              the presumption of innocence “is a doctrine that allocates the burden of proof in
              criminal trials” and “has no application to a determination of the rights of a pretrial
              detainee”). But see County of Riverside v. McLaughlin, 500 U.S. 44, 58 (1991) (alluding to
              the importance of minimizing “the time a presumptively innocent individual spends in
              jail”).
         231. Bell, 441 U.S. at 534.
         232. Id. at 537-38 (quoting Kennedy v. Mendoza-Martinez, 372 U.S. 144, 168-69 (1963)); see
              also United States v. Salerno, 481 U.S. 739, 747 (1987).
         233. 441 U.S. at 560-61. The challenged conditions were forced “double-bunking” in single
              cells, limitations on detainees’ access to printed materials, a near-prohibition on receipt
              of packages, unannounced “shakedowns” of detainees’ living areas, and strip searches
              after contact visits. Id. at 541-60.


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        to the regulatory goal Congress sought to achieve.” 234 In both cases, however,
        the Court left open the possibility that in specific cases, or other circumstances,
        it might reach a different conclusion.235
            The analysis whether a particular instance or regime of pretrial detention
        constitutes “punishment” effectively mirrors the Excessive Bail Clause analysis.
        Both require a court to determine whether the detention at issue is an
        “excessive” response to a risk of flight or pretrial crime.236 The smaller the risk
        and the greater the costs of detention, the more likely it is to be an excessive
        response. Our results provide compelling evidence that the costs of detention
        include increasing the likelihood of conviction and future entanglement with
        the criminal justice system. Given these and other costs of pretrial detention, it
        may be an excessive response to low risks of pretrial flight and crime—and
        therefore constitute impermissible pretrial “punishment.”

                   2.   Impermissible regulatory detention
             Even if pretrial detention does not constitute punishment, it might, in
        some cases, violate substantive due process as an impermissible regulatory
        infringement on individual liberty. “Freedom from imprisonment . . . lies at the
        heart of the liberty that [the Due Process] Clause protects.” 237 The state must
        therefore meet a high burden of justification when it seeks to detain
        individuals for regulatory, nonpunitive purposes. When challenges to
        regulatory detention have made their way to the Supreme Court, the Court has
        applied some type of heightened scrutiny.238 Most relevant here, in Salerno the

         234. 481 U.S. at 747-48.
         235. E.g., id. at 745 (noting “[t]he fact that the Bail Reform Act might operate unconstitution-
              ally under some conceivable set of circumstances”); id. at 745 & n.3 (noting that the suit
              is a facial, not an as-applied, challenge); id. at 747 n.4 (“We intimate no view as to the
              point at which detention in a particular case might become excessively prolonged, and
              therefore punitive, in relation to Congress’ regulatory goal.”); Bell, 441 U.S. at 561-62
              (acknowledging that “excessive” or “exaggerated” responses to security concerns at a
              pretrial detention facility would constitute impermissible pretrial punishment).
         236. See, e.g., Lopez-Valenzuela v. Arpaio, 770 F.3d 772, 791 (9th Cir. 2014) (en banc) (finding
              a “severe lack of fit between the asserted nonpunitive purpose and the actual operation”
              of an Arizona constitutional amendment denying bail to undocumented immigrants);
              id. at 792 (concluding that “the challenged laws are excessive in relation to the state’s
              legitimate interest in assuring arrestees’ presence for trial” and “therefore impermissi-
              bly impose punishment before an adjudication of guilt”).
         237. Zadvydas v. Davis, 533 U.S. 678, 690 (2001).
         238. See, e.g., id. at 690 (explaining that regulatory detention violates substantive due process
              rights except “in certain special and ‘narrow’ nonpunitive ‘circumstances,’ where a
              special justification, such as harm-threatening mental illness, outweighs the ‘individu-
              al’s constitutionally protected interest in avoiding physical restraint’” (citation omitted)
              (first quoting Foucha v. Louisiana, 504 U.S. 71, 80 (1992); and then quoting Kansas v.
              Hendricks, 521 U.S. 346, 356 (1997))).


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        Supreme Court rejected a substantive due process challenge to the federal
        preventive detention regime because the regime was “narrowly focuse[d]” on
        the “legitimate and compelling” state interest of preventing pretrial crime by
        an especially dangerous subset of defendants.239
             Pursuant to Salerno’s analysis, a specific instance or regime of pretrial
        detention might violate substantive due process if it is not carefully tailored to
        its goal or if its costs vastly outweigh its benefits. Once again, the costs
        documented here should inform the calculation. 240 If a defendant poses little
        risk of flight or pretrial crime, then pretrial detention—given its attendant
        costs—is a blunt tool to mitigate the risk. Our analysis of the effect of pretrial
        detention on future crime suggests that it may even be counterproductive.
        Pretrial detention that exacerbates the harm it is supposed to prevent is not a
        “narrowly focused” means of protecting public safety, so it may violate
        substantive due process as an unjustified infringement on liberty.

              E. Procedural Due Process: Does Pretrial Detention Produce
                 “Involuntary” Plea Bargains?
             To the extent the causal effect of pretrial detention on conviction rates
        reflects a reality that detained people plead guilty simply to get out of jail, it
        raises the question whether such pleas are fully “voluntary.” The Due Process
        Clauses of the Fifth and Fourteenth Amendments require that guilty pleas be
        “voluntary” and “intelligent,” which requires that a defendant have and make a
        meaningful choice.241
             Plea bargaining poses a dilemma because it is always in some sense coer-
        cive. The Supreme Court has confronted this question in two cases since 1970:
        Brady v. United States and Bordenkircher v. Hayes.242 In Brady, the Court held that

         239. 481 U.S. at 750-52 (“Given the legitimate and compelling regulatory purpose of the Act
              and the procedural protections it offers, we conclude that the Act is not facially invalid
              under the Due Process Clause of the Fifth Amendment.”).
         240. The tests the Court has articulated for impermissible pretrial “punishment” and
              impermissible regulatory detention are quite similar and overlap with the Eighth
              Amendment prohibition on “excessive” pretrial restraints on liberty; each requires
              courts to assess the fit between the state’s goal (for example, preventing flight or
              pretrial crime) and the means taken to achieve it. See supra Part IV.C.2; see also, e.g.,
              Lopez-Valenzuela, 770 F.3d at 789, 791-92 (holding that an Arizona constitutional
              amendment denying bail to undocumented immigrants violated substantive due
              process rights on the two “independent grounds” that it failed heightened scrutiny and
              constituted pretrial punishment and acknowledging the very similar analysis for each).
         241. Brady v. United States, 397 U.S. 742, 748 (1970) (holding that a plea must be a “knowing,
              intelligent act[] done with sufficient awareness of the relevant circumstances and likely
              consequences”); see also Boykin v. Alabama, 395 U.S. 238, 242 (1969) (holding, on
              procedural due process grounds, that a guilty plea must be knowing and voluntary).
         242. 434 U.S. 357 (1978).


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        a plea is not rendered involuntary even if it were motivated by the defendant’s
        fear of receiving the death penalty if convicted at trial. 243 In Bordenkircher, the
        Court held that it did not violate the Due Process Clause for a prosecutor to
        threaten to re-indict the defendant on more serious charges unless he pleaded
        guilty (and then to carry out the threat). 244 The Court reasoned that “‘the
        imposition of these difficult choices [is] an inevitable’—and permissible—
        ‘attribute of any legitimate system which tolerates and encourages the
        negotiation of pleas.’”245
             This precedent is clearly hostile to any argument that pretrial detention
        might render a guilty plea involuntary. But the Supreme Court did leave the
        door ajar. In Brady, the Court qualified its acceptance of bargains driven by fear:
        “Of course, the agents of the State may not produce a plea by actual or
        threatened physical harm or by mental coercion overbearing the will of the
        defendant.”246 And in Bordenkircher, the Court suggested that its decision was
        predicated on the assumption that the inducement at issue would not lead an
        innocent person to plead guilty. The Court reasoned that “[d]efendants advised
        by competent counsel and protected by other procedural safeguards are . . .
        unlikely to be driven to false self-condemnation.”247 It also noted that the case
        did not “involve the constitutional implications” of a prosecutor threatening
        harm or offering benefit to a third party, “which might pose a greater danger of
        inducing a false guilty plea by skewing the assessment of the risks a defendant
        must consider.”248
             These offhand caveats are hardly a firm foundation for a new jurispru-
        dence of due process limits to coercion in plea bargaining, but they are
        suggestive. Evidence that pretrial detention leads to wrongful convictions by
        guilty plea might lead the Court to reconsider its due process conclusions. The
        empirical analysis in this Article suggests that approximately 17% of people
        detained pretrial in the Harris County dataset who pleaded guilty (or no
        contest) would not have been convicted but for their detention. This suggests

         243. 397 U.S. at 750-51. The Court noted that “[t]he State to some degree encourages pleas of
              guilty at every important step in the criminal process,” and it rejected the idea “that a
              guilty plea is compelled and invalid under the Fifth Amendment whenever motivated
              by the defendant’s desire to accept the certainty or probability of a lesser penalty rather
              than face a wider range of possibilities” after trial. Id.; see also id. at 751 (“The issue we
              deal with is inherent in the criminal law and its administration . . . .”).
         244. Bordenkircher, 434 U.S. at 358, 365.
         245. Id. at 364 (alteration in original) (quoting Chaffin v. Stynchcombe, 412 U.S. 17, 31
              (1973)).
         246. Brady, 397 U.S. at 750.
         247. Bordenkircher, 434 U.S. at 363.
         248. Id. at 364 n.8; see also id. at 363 (“[I]n the ‘give-and-take’ of plea bargaining, there is no
              such element of punishment or retaliation so long as the accused is free to accept or
              reject the prosecution’s offer.” (emphasis added)).


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        that they pleaded guilty simply to go home, not because of the strength of the
        case against them. It is impossible to tell how many of them were actually
        innocent. But the combination of statistics along these lines and evidence in an
        individual case might be compelling.
             Consider, for instance, the case of Joseph Curry.249 According to his
        allegations in a recent civil suit, Curry had discovered in 2012 that there was a
        warrant out for his arrest, accusing him of petty theft at a Walmart he had
        never entered. When he called the Pennsylvania state police to clarify the
        situation, he was arrested and jailed. Bail was set at $20,000, which he could not
        afford. In the months he was detained and waiting for his case to proceed,
        Curry “missed the birth of his only child, lost his job, and feared losing his
        home and vehicle. Ultimately, he pled nolo contendere in order to return
        home.”250
             Confronted with convincing evidence of facts like these in an appeal or
        postconviction proceeding, a court might find that the continued pretrial
        detention of a person in these circumstances constituted “mental coercion
        overbearing the will of the defendant,”251 who was ultimately “driven to false
        self-condemnation.”252 The court could find that such a plea was not
        sufficiently voluntary to comport with due process. It would therefore vacate
        the plea and conviction. There would be some risk to pursuing this strategy for
        the defendant because the charge could be reinstated and he could again be
        arrested and jailed. If the evidence of his innocence were compelling, though,
        one hopes that this would not be the case.
             There is little chance that a due process/coercion argument can serve as a
        useful vehicle for large-scale change in the pretrial system because it is
        necessarily individualized. But it might have traction in individual cases. And
        perhaps it might lead courts and prosecutors to question whether a pretrial
        detainee who can reasonably be released upon a guilty plea should be detained
        in the first place. Finally, individual court decisions grappling with the due
        process/coercion argument might begin to fill in the fuzzy outlines of the
        constitutional limit on coercive plea bargaining practices more generally.

                                                    Conclusion
            Pretrial detention has a significant impact on downstream criminal justice
        outcomes—both in the immediate case and through the future criminal activity

         249. The facts of this case are recited in Curry v. Yachera, No. 15-1692, 2016 WL 4547188, at
              *1-2 (3d Cir. Sept. 1, 2016).
         250. Id. at *3.
         251. Brady, 397 U.S. at 750.
         252. Bordenkircher, 434 U.S. at 363.


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        of detained defendants. Detention increases the rate of guilty pleas and leads
        detained individuals to commit more crime in the future. These findings not
        only carry import for Harris County; they also raise a host of broader empirical
        and constitutional questions that merit attention.
             To appreciate the magnitude of the effects this Article documents, we offer
        the following thought experiment: imagine if, during the period of the sample,
        Harris County had released those defendants assigned the lowest amount of
        bail—$500—on personal bond (recognizance) rather than assessing bail. On the
        basis of the rate of detention among people with $500 bail set, the estimated
        effects of pretrial detention reported above, and other data carefully
        documenting the costs of detention and probation supervision in Harris
        County,253 we predict the county would have released 40,000 additional
        defendants pretrial. These individuals would have avoided approximately 5900
        criminal convictions, many of which would have come through possibly
        erroneous guilty pleas. Incarceration days in the county jail—severely
        overcrowded as of April 2016—would have been reduced by at least 400,000. 254
        Over the next eighteen months after their release, these defendants would have
        committed 1600 fewer felonies and 2400 fewer misdemeanors. On net, after
        accounting for both reductions in jail time and increases in probation time, the
        county would have saved an estimated $20 million in supervision costs alone.
        Thus, with better pretrial detention policy, Harris County could save millions
        of dollars per year, increase public safety, and likely reduce wrongful
        convictions.
             Our findings also carry import beyond the borders of Harris County.
        Many of the key features of Harris County’s system—a heavy reliance on cash
        bail, assembly-line handling of bail hearings, and nonexistent representation
        for defendants at these hearings—are characteristic of misdemeanor bail
        systems across the country. This Article presents strong empirical evidence
        that under such circumstances, bail hearings influence later case outcomes.
        This evidence demands further guidance from the courts as to whether the
        Sixth Amendment guarantees the assistance of counsel at such hearings and
        whether such a process sufficiently protects the due process and Eighth
        Amendment rights of misdemeanor defendants.


         253. E.g., Tex. Criminal Justice Coal., Harris County, Texas: Adult Criminal Justice Data
              Sheet (n.d.), http://countyresources.texascjc.org/sites/default/files/adult_county_
              data_sheets/TCJC’s%20Adult%20Harris%20County%20Data%20Sheet.pdf; Vera Inst. of
              Justice, The Price of Jails: Measuring the Taxpayer Cost of Local Incarceration 28
              (2015),          http://www.vera.org/sites/default/files/resources/downloads/price-of
              -jails.pdf.
         254. This is actually a conservative estimate because it is based on the estimate of the change
              in the jail sentence associated with detention and thus ignores time spent in pretrial
              detention that does not end up counting against the final sentence of the accused.


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             Our results also have important implications for the conduct of future
        empirical studies assessing the effects of pretrial detention. Our analysis
        suggests that prior work measuring the association between pretrial detention
        and case outcomes, which controlled for only a limited set of defendant and
        case characteristics, may have overestimated the causal effect of detention.
        After controlling for a broader set of characteristics, however—including the
        exact offense and the precise amount of bail set at the initial hearing—we are
        able to obtain correlational estimates that approach the causal estimates we
        observe using a natural experiment. In this respect, this Article’s results mirror
        those of Stevenson.255 Researchers therefore may be able to learn much about
        bail effects across many other jurisdictions operating under different systems
        without resorting to costly, and in some cases practically infeasible,
        randomized controlled trials so long as they account for preexisting differences
        between the pools of detained and released defendants. Such future work could
        help catalyze a shift toward bail systems that reduce wealth disparities, increase
        public safety, and minimize the lengthy periods of detention that have such
        high budgetary and human costs.




         255. See supra notes 63-67 and accompanying text.


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                                             Appendix
                                             Figure A.1
                Google Daily Keyword Search Volume by Day of Week (Standardized Score)

                                             “Payday”
           1


         0.5


           0


         -0.5


          -1


         -1.5
                  Sunday    Monday     Tuesday Wednesday Thursday        Friday   Saturday




                                         “Quick Loan”
            1


          0.5


            0


         -0.5


           -1
                   Sunday   Monday     Tuesday Wednesday Thursday        Friday   Saturday




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                                          “Check Cashing”
           2

          1.5

           1

          0.5

           0

         -0.5

          -1
                   Sunday     Monday      Tuesday Wednesday Thursday         Friday     Saturday
                This figure plots average daily Google search volume by day of week for several
                search terms that serve as proxies for liquidity. For each term, daily search
                volume was standardized and then averaged by day of week to construct the bars
                in the chart. Data were downloaded from Google Trends 256 and cover the period
                from January 31, 2016 to April 23, 2016.




         256. GOOGLE TRENDS, https://www.google.com/trends (last visited Mar. 3, 2017).


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                                                               Figure A.2
                                      Distribution of Bail Assessments by Day of Week of Hearing

                                35%

                                30%

                                25%
          Share of defendants




                                20%

                                15%

                                10%

                                5%

                                0%
                                         $0   $500 $1000 $1500 $2000 $2500 $3000 $3500 $4000 $4500 $5000
                                                           Bail amount at initial hearing

                                                 Tuesday       Wednesday         Thursday




                                                                  791
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                                           Table A.1
                      Numeric Results for Misdemeanor Recidivism Analysis

                   Cumulative                                                   Percent
                      New                                                      Change in
          Days     Misdemean-                                                   Misde-
          Since      ors per      Estimated                                     meanors
           Bail     Released       Effect of       Standard                      Due to
         Hearing   Defendant      Detention          Error          p-Value    Detention
        1          0.0004        -0.0004         0.00006          4.56E-10    -97.0
        2          0.0010        -0.0009         0.00013          4.55E-11    -89.1
        3          0.0015        -0.0008         0.00018          1.12E-05    -50.6
        4          0.0022        -0.0010         0.00022          5.52E-06    -45.6
        5          0.0029        -0.0011         0.00026          1.74E-05    -38.1
        6          0.0037        -0.0012         0.00030          7.28E-05    -31.8
        7          0.0046        -0.0014         0.00033          2.14E-05    -31.2
        8          0.0052        -0.0014         0.00036          0.000       -26.8
        9          0.0059        -0.0012         0.00040          0.003       -20.0
        10         0.0065        -0.0011         0.00043          0.009       -17.0
        11         0.0072        -0.0013         0.00045          0.005       -17.6
        12         0.0080        -0.0013         0.00048          0.005       -16.6
        13         0.0089        -0.0013         0.00050          0.009       -14.8
        14         0.0098        -0.0009         0.00053          0.079       -9.5
        15         0.0106        -0.0008         0.00056          0.127       -8.0
        16         0.0112        -0.0008         0.00057          0.178       -6.9
        17         0.0118        -0.0004         0.00059          0.520       -3.2
        18         0.0125        -0.0001         0.00061          0.870       -0.8
        19         0.0130        0.0002          0.00062          0.800       1.2
        20         0.0137        0.0005          0.00064          0.406       3.9
        21         0.0145        0.0006          0.00066          0.399       3.9
        22         0.0151        0.0009          0.00068          0.197       5.8
        23         0.0157        0.0010          0.00069          0.149       6.3
        24         0.0164        0.0012          0.00071          0.097       7.1
        25         0.0170        0.0013          0.00072          0.069       7.7
        26         0.0177        0.0014          0.00074          0.054       8.0
        27         0.0183        0.0017          0.00075          0.025       9.2
        28         0.0190        0.0019          0.00076          0.012       10.1
        29         0.0197        0.0020          0.00078          0.009       10.3
        30         0.0204        0.0022          0.00079          0.005       10.9

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        60     0.0413    0.0075           0.00113          2.32E-11   18.2
        120    0.0805    0.0154           0.00158          1.58E-22   19.2
        180    0.1160    0.0219           0.00193          4.98E-30   18.9
        240    0.1480    0.0284           0.00223          3.26E-37   19.2
        300    0.1830    0.0364           0.00249          3.58E-48   19.9
        360    0.2086    0.0447           0.00272          1.19E-60   21.4
        420    0.2335    0.0515           0.00294          1.36E-68   22.0
        480    0.2575    0.0584           0.00314          3.07E-77   22.7
        540    0.2808    0.0638           0.00332          5.13E-82   22.7




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                                              Table A.2
                            Numeric Results for Felony Recidivism Analysis

                   Cumulative
          Days         New                                                          Percent
          Since    Felonies per     Estimated                                     Change in
           Bail      Released        Effect of       Standard                    Felonies Due
         Hearing    Defendant       Detention          Error           p-Value   to Detention
        5          0.0015          -0.0012         0.00018           1.48E-10    -79.5
        10         0.0032          -0.0018         0.00028           6.28E-10    -55.1
        15         0.0052          -0.0022         0.00038           1.05E-08    -42.2
        20         0.0069          -0.0022         0.00045           6.67E-07    -32.5
        25         0.0084          -0.0020         0.00051           0.0001      -23.7
        30         0.0101          -0.0022         0.00056           0.0001      -21.3
        35         0.0117          -0.0022         0.00061           0.000       -18.6
        40         0.0133          -0.0020         0.00065           0.002       -15.4
        45         0.0148          -0.0019         0.00068           0.005       -13.0
        50         0.0162          -0.0018         0.00072           0.015       -10.8
        55         0.0176          -0.0012         0.00076           0.111       -6.9
        60         0.0192          -0.0010         0.00079           0.212       -5.2
        65         0.0205          -0.0003         0.00082           0.697       -1.6
        70         0.0218          0.0004          0.00085           0.650       1.8
        75         0.0233          0.0007          0.00089           0.429       3.0
        80         0.0247          0.0009          0.00092           0.328       3.6
        85         0.0260          0.0014          0.00095           0.126       5.6
        90         0.0274          0.0019          0.00097           0.046       7.1
        95         0.0286          0.0023          0.00100           0.021       8.0
        100        0.0298          0.0028          0.00102           0.006       9.4
        120        0.0351          0.0047          0.00111           0.000       13.5
        180        0.0498          0.0104          0.00136           0.000       20.9
        240        0.0644          0.0150          0.00157           0.000       23.3
        300        0.0782          0.0196          0.00177           0.000       25.1
        360        0.0911          0.0250          0.00194           0.000       27.4
        420        0.1039          0.0296          0.00210           0.000       28.5
        480        0.1163          0.0343          0.00224           0.000       29.5
        540        0.1280          0.0395          0.00237           0.000       30.9




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